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                   Ex. E
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CRITICAL ISSUES IN POLICING SERIES



Rethinking the Police Response
to Mass Demonstrations:
9 Recommendations
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        CRITICAL ISSUES IN POLICING SERIES

  Rethinking the Police Response
     to Mass Demonstrations:
        9 Recommendations




                           February 2022
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This publication was supported by the Motorola Solutions Foundation. The points of view
expressed herein are the authors’ and do not necessarily represent the opinions of the
Motorola Solutions Foundation or all Police Executive Research Forum members.

Police Executive Research Forum, Washington, D.C. 20036
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Printed in the United States of America

ISBN: 978-1-934485-65-1

Graphic design by Dave Williams.
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                                    Acknowledgments




This report is the product of a multi-                                   PERF is grateful to the Motorola Solutions Foun-
faceted project that took place over the course of                  dation, which for more than 20 years has supported
16 months and involved many people. The project                     PERF’s Critical Issues in Policing series of research
started with the Daily Critical Issues Reports that                 projects. One of the key benefits of the Critical Issues
PERF produced on the demonstrations of 2020-                        series is that PERF can address the vital issues in
21 (see page 8). PERF is grateful to all of the police              policing as they happen, without a lag time.
chiefs, sheriffs, and other experts who agreed to be                     PERF thanks Greg Brown, Motorola Solutions
interviewed for more than 20 Daily Reports about                    Chairman and CEO; Jack Molloy, Executive Vice
the challenges they were facing and their strategies                President of Products and Sales; Jason Winkler,
for managing demonstrations, safeguarding pro-                      Executive Vice President and Chief Financial Offi-
testers’ Constitutional rights, and protecting public               cer; Jim Mears, Senior Vice President; Tracy Kimbo,
safety.                                                             Chief of Staff, Global Enterprise and Channels; Mon-
     PERF is also thankful to the eight experts who                 ica Mueller, Vice President of Government Affairs;
participated in PERF’s webinar 1 on demonstrations                  Shamik Mukherjee, Chief Marketing Officer; Karem
and helped to guide the content of this report:                     Perez, Executive Director of the Motorola Solutions
• Assistant Police Chief Jeffery Carroll, Metropoli-                Foundation; and Wesley Anne Barden, Manager of
  tan Police Department, Washington, DC                             Evaluation and Grantmaking at the Foundation.
                                                                         Thanks also go to the Howard G. Buffett Foun-
• Brian Castner, Senior Crisis Advisor, Amnesty
                                                                    dation, which helped support PERF’s Daily Reports
  International
                                                                    of 2020-21.
• Louisville, KY Mayor Greg Fischer                                      Special thanks go to Police Scotland and Will
• Baltimore Police Commissioner Michael S.                          Kerr, who served for years as commander in Belfast,
  Harrison                                                          Northern Ireland, a hotbed of protest activity in the
                                                                    past. They have led the way in promoting commu-
• Dr. Tamara D. Herold, University of Nevada, Las                   nity engagement during protests.
  Vegas                                                                  Many PERF staff members contributed to this
• Columbia, SC Police Chief William “Skip”                          project. Chief Program Officer Kevin Morison man-
  Holbrook                                                          aged the project and was actively involved in all
                                                                    aspects of it, including the Daily Reports, the webi-
• Deputy Chief Constable Will Kerr, Police Scotland
                                                                    nar and assistance from the panel of experts, and
• Tara Murray, Civil and Human Rights Attorney,                     overseeing the development of this report. Research
  Washington, DC                                                    Assistant Adam Kass reviewed approximately 25

1. PERF. “Managing Demonstrations: New Strategies for Protecting Protesters and the Police.” https://youtu.be/WBAiuPucZQ0



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after-action reports by cities that experienced major    edited and managed production of this report, and
demonstrations in 2020 and conducted or com-             Graphic Designer Dave Williams designed the
missioned reviews to learn if their response to such     publication.
events could be improved. Research Associate Jason            Back in 2014, then-Police Chief Steve Anderson
Cheney assisted Adam in organizing, cataloging,          of Nashville made headlines for his response to pro-
and synthesizing the information contained in the        tests about a Missouri grand jury’s decision not to
reports. Senior Research Associate Sarah Mostyn,         charge Ferguson Police Officer Darren Wilson in the
Assistant Director of Communications James               fatal shooting of Michael Brown.
McGinty, and Director of Applied Research and                 Steve and his officers greeted protesters with cof-
Management Tom Wilson contributed to the Daily           fee and hot chocolate, and closed streets to accom-
Reports and webinar, and provided further guidance       modate the demonstrations. He told protesters that
and insight on the project.                              the Nashville police saw their role as protecting
     Consultant Ben Heller further analyzed the after-   everyone’s First Amendment rights.
action reports and webinar discussions, synthesized           The result was a peaceful demonstration in
that information into the findings and recommenda-       Nashville, with no arrests or incidents of violence.
tions in this report, and drafted most sections of the   This report is intended to help all police agencies to
document. Communications Director Craig Fischer          achieve those kinds of results.




                                                         Chuck Wexler
                                                         Executive Director




2 — Acknowledgments
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                             Introduction:
                        The Three Crises of 2020
                                       By Chuck Wexler



Police agencies’ management of protests                  became clear that COVID-19 was spreading across
and demonstrations is not a new issue. PERF pro-         the United States.
duced major reports on this topic in 2006, 2011, and          Police departments quickly responded with doz-
2018 (see pp. 15-17).                                    ens of changes in how they operated. Unlike many
    And yet, the demonstrations of 2020 required         professions where employees could shift to working
PERF to throw out those playbooks and realize            from home, most police work requires an in-person
that we had to look at demonstrations very differ-       response. So the basic question was how to keep
ently. Police simply did not expect and were not         police agencies operating.
prepared for the level and extent of violence they            Police executives recognized the danger of the
encountered. It was unlike anything they had seen        coronavirus sweeping through their departments. It
in 20 years.                                             could become impossible to maintain adequate staff-
    Police actually faced three major crises in 2020:    ing levels if a high percentage of officers became sick
    Crisis 1: The COVID-19 pandemic,                     or had to quarantine. And without functioning police
    Crisis 2: Thousands of demonstrations following      departments, cities might experience lawlessness.
the murder of George Floyd, and                               By March 2020, police agencies across the
    Crisis 3: A spike in homicides and shootings.        United States and around the world were taking
                                                         quick actions to protect officers against the virus, so
    This report is mainly about Crisis 2, demonstra-     they could keep doing their jobs. To reduce oppor-
tions. But I want to briefly discuss all three crises,   tunities for the virus to spread, police departments
because each one posed difficult, sometimes unprece-     cancelled community meetings and events. They
dented challenges to law enforcement agencies, and the   suspended many types of internal meetings, such
three crises compounded each other, creating a synergy   as recruit training and in-service training sessions.
that made all of the problems worse.                     They held roll calls outdoors, or online. They stopped
                                                         responding in person to incidents like minor traf-
Crisis 1: COVID-19 upends                                fic accidents or property crimes, having individu-
nearly every aspect of policing                          als instead report those incidents over the phone or
                                                         online. They changed work schedules to reduce the
In January-February 2020, we all heard about a new       number of daily contacts among officers. They closed
disease called COVID-19 that was threatening to          precinct stations to the public, scrambled to acquire
become a global pandemic. For a few days or weeks,       supplies of personal protective equipment, and in
we hoped the impact might be limited, but it soon        dozens of other ways, worked to reduce the spread
                                                         of the coronavirus.




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    In March, PERF began documenting these                          Crisis 3: Spikes in violent crime rates
changes in “Daily COVID-19 Reports.” 2 Over the
course of the next year, PERF produced 116 of these                 In the fall of 2020, PERF began hearing about sharp
reports, providing a daily digest of original research              increases in violent crime in many cities. PERF and
into how COVID impacted policing and how police                     the Major Cities Chiefs Association conducted sur-
leaders were responding. That information and other                 veys of our members, and found that among 223
research is summarized in PERF’s recent publication,                responding agencies of all sizes, the total number
Lessons from the COVID-19 Pandemic: What Police                     of homicides in the first 9 months of 2020 was 28%
Learned from One of the Most Challenging Periods of                 greater than in the same period in 2019.5 Aggravated
Our Lives.3                                                         assaults also increased 9%. Later, a follow-up sur-
                                                                    vey of PERF members found that increasing violent
                                                                    crime trends had continued through the first seven
Crisis 2: Thousands of demonstrations                               months of 2021.6
after the murder of George Floyd                                        In September 2021, the FBI released UCR data
On May 25, 2020, another event shook the policing                   indicating that there were more than 21,500 homi-
profession. George Floyd was killed by a police offi-               cides reported in 2020, a level not seen since the
cer in Minneapolis, and video footage of Mr. Floyd’s                1990s. This was the largest single-year increase in
death was captured by a 17-year-old bystander. Offi-                murders recorded by the FBI since the 1960s.
cer Derek Chauvin was promptly fired, criminally
charged, and later found guilty of murder and man-                  The three crises were interconnected
slaughter charges in Mr. Floyd’s death.
                                                                    These three crises compounded each other in ways
     The killing of George Floyd – and other inci-
                                                                    that made their total impact worse.
dents of police use of force in the months to come –
                                                                         For example, many police chiefs reported that
triggered a wave of demonstrations unlike anything
                                                                    the COVID pandemic contributed to the increases
the policing profession has seen in modern history.
                                                                    in violent crime. COVID forced many court sys-
     Many large cities experienced dozens or even
                                                                    tems to drastically curtail their operations, because
hundreds of demonstrations in the next few months.
                                                                    in-person trials would have endangered the health
By September, Portland, OR Police Chief Chuck
                                                                    of everyone in the courtroom. With few or no trials
Lovell told PERF that Portland had experienced
                                                                    being held, many criminal offenders saw little reason
demonstrations and/or riots for nearly 100 nights
                                                                    to accept plea agreements, so major elements of the
in a row.4 In many cities, the demonstrations were
                                                                    criminal justice system essentially ceased to func-
not necessarily about any complaints about the local
                                                                    tion in some places. And many jails, worried about
police; rather, demonstrators turned out to show
                                                                    COVID sweeping through their facilities, released
solidarity with those protesting George Floyd’s death
                                                                    large numbers of inmates early, in order to allow for
and other incidents in various locations.
                                                                    greater social distancing among those who remained.
                                                                         So there were thousands more criminal offend-
                                                                    ers on the streets as a result of COVID-19. And often
                                                                    the offenders were not subject to the same controls



2. PERF. “Responding to COVID-19.” https://www.policeforum.org/covid-19-response
3. Police Executive Research Forum. “Lessons from the COVID-19 Pandemic: What Police Learned from One of the Most Challenging
Periods of Our Lives.” December 2021. https://www.policeforum.org/assets/COVIDPandemic.pdf
4. PERF Daily Critical Issues Report, “Demonstrations in Portland and Washington, DC.” September 3, 2020. https://www.policeforum.
org/criticalissuessep3
5. PERF Daily Critical Issues Report, “PERF Analysis Reveals a Spike in Some Violent Crimes This Year.” November 18, 2020.
https://www.policeforum.org/criticalissuesnov18
6. PERF Special Report, “Violent Crime Trends: Homicides, Shootings, and Carjackings Are Increasing in 2021; Robberies Continue to
Decline.” September 22, 2021. https://www.policeforum.org/violentcrimesurveyseptember2021



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they would have received in normal times, such as                         The challenge is to find new approaches to
enforceable probation conditions. Released inmates                     working with community leaders during peaceful
also did not receive resources, such as drug treat-                    times, and then engaging them in new ways when
ment, that they might have normally received.                          demonstrations emerge.
     In a number of cities, offenders committed seri-
ous crimes, such as carjackings,7 and did not face any
                                                                       We must take police-community
meaningful sanctions, adding to the chaos on the
streets.
                                                                       engagement on demonstrations
     The thousands of demonstrations also likely                       to a higher level
contributed to increased crime, in part because the                    The #1 recommendation in this report, the most
protests, occurring day after day, forced police to                    important one, calls upon police to rethink how they
move detectives and officers from crime-fighting                       engage the community regarding demonstrations.
units in high-crime neighborhoods to policing                              Police departments and sheriffs’ offices should
demonstrations.8                                                       broaden community engagement in at least two
     The demonstrations also increased COVID risks                     important ways:
to the police, because officers had no choice but to be
in close contact with often-maskless demonstrators.                    1. Police should invite community leaders to
It was impossible to maintain 6 feet of distance dur-                  participate in police meetings and training
ing many of these large, crowded events.                               sessions about planning the police response to
                                                                       demonstrations. These meetings should discuss
The focus of this report:                                              the police response to demonstrations as a
Demonstrations and violence                                            general matter, as well as planning for particular
                                                                       demonstrations.
This report is about the second crisis described above:
the demonstrations that continued through the sum-                     These meetings should include discussions of key
mer and into the fall of 2020, and the unprecedented                   issues, such as how police balance their role in facili-
violence that occurred in many cities.                                 tating First Amendment expression with the need to
     This report provides 35 recommendations for                       protect public safety when demonstrations begin to
actions that law enforcement agencies can take to                      turn violent.
improve their planning for, and response to, demon-                         In many of the 2020 demonstrations, violent
strations in their communities.                                        agitators embedded themselves among peaceful
     The demonstrations of 2020 were especially diffi-                 protesters, and sometimes threw rocks or other pro-
cult to manage because the protests were about polic-                  jectiles at police, started fires, or threatened public
ing. And in many jurisdictions, the police response                    safety in other ways. Police have limited tools for
to the demonstrations added to the anger and dis-                      responding to these kinds of situations. Often, when
trust toward the police that many demonstrators felt.                  faced with acts of violence during the 2020 dem-
                                                                       onstrations, police used CS gas to disperse crowds,
How can police meet with protest leaders and dis-
                                                                       which prompted complaints that police were using
cuss how to facilitate peaceful demonstrations when
                                                                       excessive force to shut down demonstrations that
some protest leaders view the police as the enemy?
                                                                       appeared to be mostly peaceful, but included dan-
     And yet, as we learned throughout this project,
                                                                       gerous elements.
engaging the community is vitally needed to achieve
                                                                            By inviting community leaders to participate in
the twin goals of safeguarding First Amendment
                                                                       police planning sessions about how to handle these
rights and protecting public safety.
                                                                       difficult situations in the future, police agencies


7. PERF Daily Critical Issues Report, “Increases in Carjackings.” February 8, 2021. https://www.policeforum.org/criticalissues8feb21
8. PERF Daily Critical Issues Report, “Violent crime increases in large cities.” November 23, 2020. https://www.policeforum.org/
criticalissuesnov23



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can gain valuable input, while also building trust        organically on social media platforms. This made it
and showing their communities that police share           difficult for police officials to single out individuals
the same goals of facilitating the peaceful exercise      who (1) carried weight with the demonstrators and
of First Amendment rights.                                (2) would be willing to work with the police.
    These forums can serve as a good sounding                   This situation demands that police agencies
board for discussions about tactics and the police        redouble and expand their efforts to reach out to
response to various types of situations.                  and engage broad segments of the community on an
    Police also can build trust by inviting commu-        everyday basis, not only during demonstrations. Tra-
nity members to observe police training sessions and      ditional community leaders may not be the individu-
tabletop exercises about demonstrations.                  als who lead anti-police protests, and they may have
                                                          little connection to those who do lead protests. Police
2. Police should build trust during demonstrations,       officials at all levels need to develop contacts and ini-
by inviting community leaders who have strong             tiate communication with a wider range of commu-
credibility among the general public to serve as          nity members and leaders, and work to build their
observers and partners on the streets.                    trust long before a major demonstration occurs. This
                                                          outreach can be done in-person and online, through
By letting community leaders see the police depart-       the social media platforms that protesters use.
ment’s systems and procedures for managing a                    This work won’t be easy: many of the people
demonstration, police can help the community              involved in demonstrations about policing have lit-
to understand the challenges they are facing and          tle faith or trust in the police. But by doing the hard
develop solutions, while building trust.                  work of outreach and engagement today, agencies
     For example, in a situation where violent agita-     will be better prepared to work with the community
tors, embedded in a mostly-peaceful crowd of dem-         to manage tomorrow’s protests.
onstrators, are throwing rocks or fireworks at police
at the south end of a park, community leaders might
                                                          Police agencies also must
communicate with protest leaders on the ground,
and ask the peaceful protesters to separate them-
                                                          rethink their approach to use of force
selves from those who are committing violent acts.        during demonstrations.
     In this way, a joint police-community response       Another major issue during the demonstrations of
could potentially help police resolve situations with-    2020 was that suddenly many police departments
out having to resort to CS gas or other types of force.   were using “less-lethal force” tools they hadn’t used
     Police might also consider designating interested    in years. CS gas, pepper spray, beanbag rounds, rub-
community leaders as marshals who observe and             ber bullets, “flash-bang” devices, and other tools were
document demonstrations and the police response.          being used in many cities, and often, police officers
In the aftermath of a demonstration, these marshals       hadn’t received special training on their use. It sim-
can provide the community with feedback about             ply hadn’t been a priority for training, because these
what occurred and why.                                    devices hadn’t been widely used for many years.
     The community members should not be                       This report provides recommended guidance on
merely observers. Rather, police should work with         limiting the use of various less-lethal tools to certain
these individuals to identify specific roles they can     specified situations. We also recommend that deci-
take to be helpful.                                       sions about whether to use less-lethal tools be made
     Of course, one of the challenges that many law       only at a high level in a police department. The name
enforcement agencies faced during the protests of         “less-lethal” suggests that these devices are relatively
2020 was identifying community leaders with whom          safe, but the fact is that they can and do cause serious
they could work. Many of the demonstrations that          injuries. We also recommend that officers be trained
focused on calls for police reform were carried out       to use the Critical Decision-Making Model (CDM) as
by “leaderless” groups of protesters, who organized       they face complex situations during demonstrations.




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     We also believe that the U.S. Justice Department’s    cover to commit acts of violence. This combination
research branch, the National Institute of Justice,        of violent agitators and peaceful demonstrators
could take an important role in evaluating specific        became the most challenging situation for police
less-lethal weapons and making detailed recommen-          to manage.
dations about when and where each type of weapon                As this report will explain, too often in 2020,
may be used, or should not be used.                        existing approaches and tools proved inadequate
     The level of violence and destruction in the          for these complex incidents. We need to create and
demonstrations of 2020 was unlike anything police          test new approaches that are different from the
had seen in decades. In many cities, agitators             ways things are done now. This report is intended
threw Molotov cocktails and rocks at police, com-          to help police departments and sheriffs’ offices
mitted acts of arson, smashed windows and looted           develop these new concepts.
stores, and often used peaceful demonstrators as




                                                            Chuck Wexler
                                                            Executive Director




                 Los Angeles Police Chief Michel Moore in a discussion with George Floyd
                 protesters




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                               Sources of Information
                                   in This Report




This report provides 38 recommendations                                • Thursday, June 11: Washington, DC Police Chief
for law enforcement agencies regarding the handling                      Pete Newsham on why “defunding” threatens
of demonstrations, public assemblies, and other                          reforms
First-Amendment protected activities, as well as                       • Monday, June 15: Use-of-force continuums are an
civil disturbances and violence that sometimes occur                     outdated approach
during demonstrations.
     The recommendations are based on information                      • Wednesday, June 24: Talk of “defunding” police
collected and analyzed from the following sources                        brings focus on mental health co-responder
and reports:                                                             programs
                                                                       • Friday, June 26: How disciplinary processes thwart
PERF “Daily Reports”                                                     reforms
on demonstrations in 2020-21                                           • Thursday, July 2: Cities are bracing for many July
                                                                         4 problems
In 2020 and 2021, PERF produced approximately
250 Daily COVID-19 Reports9 and Daily Critical                         • Friday, July 24: Interview with Seattle Chief Car-
Issues Reports10 on issues related to the COVID-19                       men Best about recent violent groups in the city
pandemic and other issues, including demonstra-                        • Wednesday, August 5: The boogaloo movement
tions and riots following the death of George Floyd                      and the threat it poses to law enforcement
in May 2020, and various police reform proposals
being considered. These reports presented origi-                       • Friday, August 7: Interview with Portland Chief
nal research, usually based on PERF’s interviews of                      Chuck Lovell
police chiefs and other experts.                                       • Monday, August 10: NYPD Tactical Assessment
    Following is a list of some of these reports about                   details threats against officers
demonstrations and related issues:
                                                                       • Friday, August 14: Interview with Salt Lake City
                                                                         Chief Mike Brown
2020
                                                                       • Thursday, September 3: Demonstrations in Port-
• Thursday, June 4: The intersection of COVID-19,                        land, OR and Washington, DC
  demonstrations, and riots
                                                                       • Tuesday, September 8: Possible changes to the
• Tuesday, June 9: If Minneapolis officers had acted                     qualified immunity doctrine
  on their “duty to intervene,” would George Floyd
  be alive today?                                                      • Wednesday, September 9: Changes to no-knock
                                                                         warrants and forced entry raids

9. PERF Daily COVID-19 Reports. https://www.policeforum.org/covid-19-response
10. PERF Daily Critical Issues Reports. https://www.policeforum.org/critical-issues-reports


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• Friday, October 23: Demonstrations discussion           • Cleveland — Cleveland Division of Police
  from PERF’s Town Hall                                     https://s3.documentcloud.org/documents/
• Wednesday, November 4: Interview with Minne-              20419471/cleveland-may-30-riot-after-action-
  apolis Chief Medaria Arradondo                            review.pdf
                                                          • Cleveland — Cleveland Police Monitoring
2021                                                        Team
                                                            https://static1.squarespace.com/static/5651f9b5e
• Tuesday, February 9: Peter Newsham on policing
                                                            4b08f0af890bd13/t/603bdd2e4e6a0d1861571
  demonstrations in Washington, DC
                                                            cdc/1614535987518/Ninth+Semiannual+Report+
• Friday, February 26: Interview with San Diego             w%3AAttachments.pdf
  Chief David Nisleit about his agency’s new policy
                                                          • Columbia, SC — Columbia Police Department
  on First Amendment activity
                                                            https://issuu.com/columbiapdsc/docs/
• Thursday, March 11: Preparing for the Derek               cpd_critical_incidents_review_2020
  Chauvin trial in Minneapolis
                                                          • Dallas — Dallas Police Department
• Tuesday, April 20: Recommendations from PERF’s            https://dfw.cbslocal.com/wp-content/uploads/
  webinar about demonstrations                              sites/15909545/2020/08/Final-After-Action-
• Thursday, April 22: PERF board members on                 Report-1.pdf
  how they’re planning to move forward after the          • Denver — Office of the Independent Monitor
  Chauvin trial
                                                            https://www.denvergov.org/files/assets/public/
                                                            independent-monitor/documents/
After-action reports                                        2020gfpreport_oim.pdf
Many cities around the country commissioned               • Fredericksburg, VA — Police Executive
“after-action reports” or similar reviews in the after-     Research Forum
math of their demonstrations to understand what             https://www.fredericksburgva.gov/Document
happened and to examine the response of police and          Center/View/18750/PERF-Final-Report-
other agencies.                                             February-3-2021-PDF?bidId
     PERF reviewed and analyzed the following
                                                          • Indianapolis — Independent Review Panel
26 after-action reports from 20 cities. Each listing
                                                            https://www.wfyi.org/files/wfyi/files/impd-
below cites the jurisdiction and the organization
that conducted the after-action review. In some             review-panel-full-report.pdf;
cities, multiple reviews were conducted by differ-        • La Mesa, CA — Hillard Heintze, LLC
ent organizations.                                          https://www.nbcsandiego.com/news/local/
• Asheville, NC — Asheville Police Department               consulting-firms-report-on-la-mesa-riot-
  https://drive.google.com/file/d/1iMOOETz-wPY              concludes-police-was-unprepared/2504731/
  WIB9LbEDI_1bj8xDsIWQL/view                              • Los Angeles — Los Angeles Police Department
• Charleston, SC — Charleston Police Department             http://lapd-assets.lapdonline.org/assets/pdf/LAPD
  https://www.charleston-sc.gov/strengthening-              %20After%20Action%20Report%202020.pdf
  charleston-preliminary-report                           • Los Angeles — Independent Counsel
• Chicago — Chicago Police Department                       https://int.nyt.com/data/documenttools/lapd-
  https://home.chicagopolice.org/wp-content/                george-floyd-protests-report/ec6b2bf2056f6727/
  uploads/2021/02/AAR_FINAL_2-4-21.pdf                      full.pdf
• Chicago — Office of the Inspector General               • Los Angeles — National Police Foundation
  https://igchicago.org/wp-content/uploads/                 https://lapdonlinestrgeacc.blob.core.
  2021/02/OIG-Report-on-Chicagos-Response-to-               usgovcloudapi.net/lapdonlinemedia/2021/
  George-Floyd-Protests-and-Unrest.pdf                      11/A-Crisis-of-Trust.pdf



                                                                        Sources of Information in This Report — 9
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• New York City — New York City Department of                       • Seattle — Seattle Office of Police Accountability
  Investigation                                                       http://www.seattle.gov/Documents/Departments/
  https://www1.nyc.gov/assets/doi/reports/pdf/                        OPA/Special-Reports/OPA-Response-to-
  2020/DOIRpt.NYPD%20Reponse.%20George                                Council-CCW-Ordinance-081520.pdf.
  Floyd%20Protests.12.18.2020.pdf
• New York City — State of New York Attorney                        PERF webinar
  General
                                                                    On April 15, 2021, PERF also hosted a webinar 11
  https://ag.ny.gov/sites/default/files/2020-nypd-
                                                                    with eight subject matter experts to discuss PERF’s
  report.pdf
                                                                    preliminary list of recommendations.
• Oakland, CA — Oakland Police Department                                The webinar panelists reviewed PERF’s findings
  https://cao-94612.s3.amazonaws.com/                               and provided additional perspectives on the demon-
  documents/After-Action-29MAY20-to-4JUN20-                         strations of 2020, and the lessons that police agencies
  9-24-20-update.pdf                                                should take from that experience.
                                                                         Following is a list of the webinar participants:
• Omaha, NE — Omaha Police Department
  https://drive.google.com/file/d/18Bo_MPV-GR
  fjtZ4IQkSiWn7s-RN3PkKf/view;
• Philadelphia — CNA and Montgomery
  McCracken
  https://www.cna.org/CNA_files/PDF/                                                      Assistant Police Chief Jeffery
  IAA-2020-U-028506-Final.pdf                                                             Carroll, Metropolitan Police
• Raleigh, NC — Raleigh Police Department                                                 Department, Washington, DC
  https://cityofraleigh0drupal.blob.
  core.usgovcloudapi.net/drupal-prod/
  COR23/2020RPDAfterActionReview.pdf
• Raleigh, NC — 21CP Solutions
                                                                                          Brian Castner, Senior
  https://go.boarddocs.com/nc/raleigh/Board.
                                                                                          Crisis Advisor, Amnesty
  nsf/files/BV8SZL741092/$file/20201110C
                                                                                          International
  MORaleighPoliceDepartment-External%20
  ConsultantsReport.pdf;
• San Jose, CA — San Jose Police Department
  https://sanjose.legistar.com/View.
  ashx?M=F&ID=8769493&GUID=3ED4A6F5-
  F069-4E7F-BADE-99421D9991B3
                                                                                          Louisville, KY Mayor
• San Luis Obispo, CA — San Luis Obispo                                                   Greg Fischer
  Police Department
  https://www.slocity.org/Home/Components/
  News/News/7867/17
• Santa Monica, CA — OIR Group
  https://www.santamonica.gov/Media/Default/                                              Baltimore Police
  CMO/Attachment-11153.pdf;                                                               Commissioner
                                                                                          Michael S. Harrison


11. PERF. “Managing Demonstrations: New Strategies for Protecting Protesters and the Police.” https://youtu.be/WBAiuPucZQ0




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        Dr. Tamara D. Herold,
        University of Nevada,                       Deputy Chief Constable
        Las Vegas                                   Will Kerr, Police Scotland




                                                    Tara Murray, Civil and
        Columbia, SC Police Chief                   Human Rights Attorney,
        William “Skip” Holbrook                     Washington, DC




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                         Executive Summary and
                         Key Recommendations




Following is a summary of PERF’s 9 major                     agencies will always be challenged to have
recommendations.                                             enough officers to effectively manage large,
    In subsequent chapters of this report, each              hostile demonstrations that continue for
major recommendation is discussed and supple-                weeks at a time. But in cities where police have
mented with more detailed guidance.                          built trust with many community members
                                                             and leaders, there will be less need for a mas-
1. Reinventing the role of the community: For
                                                             sive police response.
   years, police leaders have talked about working
                                                                  Community leaders also should be invited
   with community members during protests and
                                                             to serve as observers and partners to police dur-
   in the days and weeks before planned demon-
                                                             ing demonstrations. Community members may
   strations. That is not new. What PERF is propos-
                                                             be able to help guide the police response in
   ing now is about taking the relationship to a new
                                                             ways that minimize use of force while facilitat-
   level.
                                                             ing First Amendment expression. Police should
        PERF recommends that police should invite
                                                             establish ways of being in touch with leaders
   community leaders to observe and participate in
                                                             during demonstrations by cellphone calls, texts,
   police planning discussions, training initiatives,
                                                             and in-person consultations. These community
   tabletop exercises, and other activities related to
                                                             members also can document the event, report
   demonstrations.
                                                             back to the community about how police viewed
        This should be done in a general, routine
                                                             their role and responded to particular issues that
   manner – not only when a particular dem-
                                                             arose during the demonstration, and obtain a
   onstration is expected, but when police are
                                                             better understanding of the complex challenges
   creating overall plans and protocols for all
                                                             that police often face during demonstrations.
   demonstrations.
        This will generally help to build trust in the   2. During a demonstration, communicate effec-
   community, and will demonstrate to commu-                tively, up and down the policing chain of com-
   nity leaders that the police see their primary role      mand. The goal of such communication is to
   during demonstrations as facilitating safe and           ensure that everyone in the police agency has
   lawful First Amendment expression. That type             a clear understanding of the goals of policing
   of engagement may result in community lead-              mass demonstrations, as well as specific tactics,
   ers being more willing to work with police when          actions, and tools that are acceptable responses
   they are planning a particular demonstration.            to different types of actions by members of the
        In this way, community members be-                  public.
   come “force-multipliers” for the police. Police




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3. Train officers and supervisors adequately so            6. Avoid the use of mass arrests. Unnecessary
   that they have the knowledge and skills they               arrests can create the impression that police are
   need to maintain public order while facilitating           stifling First Amendment rights, which under-
   freedom of speech and assembly.                            mines community trust. And on a tactical level,
4. The policing profession, with assistance from              mass arrests can take officers away from more
   academic experts and the U.S. Dept. of Justice’s           important tasks on the front line, and can result
   research branch, the National Institute of Jus-            in major administrative and legal issues later.
   tice, should re-engineer how we think about             7. Prepare and activate mutual aid agreements.
   less-lethal weapons. This should include a com-            These agreements should be specific and clear
   prehensive evaluation of each type of less-lethal          about response protocols, and should state that
   tool, how it works, its capabilities and limitations,      officers from assisting agencies must adhere to
   and any risks it poses to community members                the policies and practices of the host agency. In
   and/or to police officers. The policing profession         this way, when agencies are overburdened, they
   should create strong policy guidelines about the           can rely on officers from neighboring jurisdic-
   circumstances under which the use of each tool             tions who will behave in accordance with the
   may be considered, and any situations in which             local department’s norms and policies.
   the tool should be prohibited.
        Currently, police agencies have no play-           8. Prioritize officer safety, health, and wellness
   book and little information beyond what the                to protect officers’ well-being and avoid burnout
   manufacturers say about their products. What               and poor decision-making that may result from
   do we know about the effectiveness of each                 prolonged exposure to the stress of policing a
   weapon or tool? What new technologies could                mass demonstration.
   be developed?                                           9. Ensure robust review of the police response to
        For example, currently, some tools, such as           each demonstration, both in daily debriefings
   CS gas, are warranted in specific circumstances,           and longer-term review of large events, so that
   but when used unnecessarily or improperly, can             police agencies can refine their approaches to
   antagonize protesters and be counter-productive.
                                                              policing mass demonstrations, based on inter-
   And other so-called “less-lethal” tools, such as
                                                              nal feedback from officers as well as community
   soft projectiles, can cause serious or even fatal
                                                              members’ views.
   injuries, and can be difficult to target.
        The Justice Department’s research branch,               The size, scale, and duration of the police pro-
   the National Institute of Justice, should play a        tests of 2020 were unprecedented, and have revealed
   key role in this process of conducting research         a need for an updated approach to policing mass
   on less-lethal tools, and developing strong policy      demonstrations. Large, leaderless groups are able to
   guidance about their use.                               assemble with little or no advance notice through
5. Warn crowds before deploying less-lethal                social media, and the highly partisan nature of
   force. In addition to providing advance notice          American politics sometimes results in more fre-
   of the possible use of force, officers should give      quent and violent demonstrations, between groups
   specific instructions to demonstrators, through         of protesters and counter-protesters with an oppos-
   loudspeakers that can be heard by all, about what       ing view.
   they should do (such as leaving a park by certain            To preserve officer safety and maintain public
   exits or streets), and with a deadline for action.      order while facilitating First Amendment rights,
       Clear guidance is necessary to avoid confu-         law enforcement agencies of all sizes need compre-
   sion and prevent situations where large crowds          hensive strategies to manage demonstrations. This
   are subjected to uses of force merely because           report provides recommendations about essential
   they were not given clear instructions about            components of such an approach.
   how to leave the scene or otherwise comply with
   police orders, or weren’t given sufficient time to
   disperse.

                                                                Executive Summary and Key Recommendations — 13
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             A Brief History of the
   Police Response to Mass Demonstrations




                                                                                                   Police and protesters
                                                                                                   during a demonstration
                                                                                                   in Baltimore



The police response to mass demonstra-                             not tolerate. This model was successful at preserving
tions has changed substantially over the years,                    First Amendment rights while maintaining order,
according to a detailed analysis by Dr. Edward                     avoiding the cycle of tension and violence commonly
Maguire of Arizona State University, who serves as                 associated with the escalated force model.
chair of PERF’s Research Advisory Board.                                By the 1990s, however, according to Professor
     Dr. Maguire’s research found that in the 1960s,               Maguire’s analysis, police began ratcheting up their
policing mass demonstrations and protests entailed                 responses to mass demonstrations and protests once
showing dominant force early on, in order to deter                 again. Violent clashes between the police and pro-
criminality and civil disobedience. Unfortunately,                 testers at the 1999 World Trade Organization Min-
this type of response, known as the “escalated force               isterial Conference in Seattle marked a watershed
model,” tended to inflame tensions and provoke vio-                moment. In hindsight, Seattle Police Chief Norm
lence by protesters, rather than preventing it.                    Stamper called his handling of that event “the worst
     Starting in the late 1970s, after four presiden-              mistake of my career.” He explained, “We used chem-
tial commissions exposed the flaws of the escalated                ical agents, a euphemism for tear gas, against nonvi-
force model, the “negotiated management model”                     olent and essentially nonthreatening protesters. The
emerged. Under this new approach, police officers                  natural consequence of which [was] that we were the
were trained to see their role as helping to facili-               catalyst for heightened tension and conflict, rather
tate First Amendment expression, communicating                     than peacekeepers.” 12
ahead of time what behaviors they would or would

12. Maguire, E. R., Oakley, M. (January 2020). “Policing Protests: Lessons from the Occupy Movement, Ferguson & Beyond: A Guide
for Police,” Harry Frank Guggenheim Foundation. https://static1.squarespace.com/static/5b293370ec4eb7e463c960e6/t/601d60d2a7f98e
73c3dbee05/1612538076086/Policing+Protests.pdf.


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     The terrorist attacks of September 11, 2001, in                       In addition, the 2006 report recommended that
Professor Maguire’s view, further reinforced the                      departments show restraint with the type of protec-
trend toward more assertive police responses to                       tive equipment that officers wear. Most mass dem-
mass demonstrations, as some agencies feared losing                   onstrations do not require military-style equipment.
control of large, crowded events, which they believed                 Over-responding with riot gear may show that the
were prime targets for terrorist activity.                            police are in control, but it also may elevate tensions
     More recently, the evolution of police agencies’                 in a way that works against the ultimate goal of main-
management of demonstrations has shifted back                         taining order. “The appearance of heavily protected
toward a recognition that police have a major role to                 ‘Robocop’ officers,” the report explained, can lead to
play in protecting American democracy, by helping to                  “a public perception that the police are being heavy-
facilitate the First Amendment rights of assembly and                 handed and overreacting.” 14
free speech.                                                               The report also addressed issues with mass
     PERF has helped to promote that view, as can be                  arrests, noting that large-scale arrests can lead to
seen in three PERF reports, released in 2006, 2011,                   widely disseminated images of “law-abiding protest-
and 2018.                                                             ers and passersby [being] rounded up and detained
                                                                      along with violators in overly broad sweeps.” Mass
                                                                      arrests can agitate demonstrators and lead to anti-
A 2006 PERF report calls for                                          police sentiments, which make policing mass dem-
an alternative to escalated force                                     onstrations significantly more challenging, the
PERF has released three major reports over the last                   report said.
two decades focused on how to police mass demon-
strations. The first was the 2006 report Police Man-                  PERF’s 2011 report emphasizes
agement of Mass Demonstrations: Identifying Issues                    facilitating demonstrations –
and Successful Approaches. This report drew on two
                                                                      and avoiding arrests
PERF-convened forums of police executives from
around the world, and provided recommendations                        PERF’s 2011 report, Managing Major Events: Best
for policing mass demonstrations. It recommended                      Practices from the Field, expanded on how law
that police show restraint when using force, in part                  enforcement agencies should respond to a wide range
because “the use of force by police against the public                of major events, from sporting championships and
[…] usually conveys a disturbing appearance,” and a                   celebratory crowds to natural disasters and protests.
single incident of force can escalate tensions for an                      The 2011 report explored strategies and tools for
entire event.13                                                       handling large-scale incidents, including mutual aid
     The report recommended that police use force                     agreements with neighboring police agencies and use
only when absolutely necessary to protect life or                     of the National Incident Management System. It also
property. Even tools referred to as “less-lethal” uses of             included specific advice about avoiding unnecessary
force – like rubber bullets, pepper spray, or CS gas –                arrests of demonstrators, from Charles Ramsey, then
can sometimes lead to severe health complications                     Police Commissioner in Philadelphia:
or even death for individuals. Thus, the report said,                    My advice is to avoid arrests if at all possible. You
police should be aware of the risks of these less-lethal                 have to make up your mind in the beginning that
tactics and deploy them only when other methods to                       there are certain behaviors you just have to toler-
prevent more serious violence prove inadequate.                          ate…. First, the more arrests you make, the more



13. Narr, T., Toliver, J., Murphy, J., McFarland, M., Ederheimer, J. (2006). “Police Management of Mass Demonstrations: Identifying
Issues and Successful Approaches,” Police Executive Research Forum, https://www.policeforum.org/assets/docs/Critical_Issues_Series/
police%20management%20of%20mass%20demonstrations%20-%20identifying%20issues%20and%20successful%20approaches%20
2006.pdf .
14. Ibid., page 58.




                                                            A Brief History of the Police Response to Mass Demonstrations — 15
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  likely it is that you’ll wind up in court for a long              which attract more participants. The Occupy pro-
  time…. Second, you deplete your own resources by                  tests of 2011 were some of the early demonstrations
  making a lot of arrests. If you make a mass arrest,               to have this feature.
  you take your people off the line to go process pris-                  These types of organic, spontaneous demonstra-
  oners and so forth. Protesters will often send out                tions are more difficult for police to manage. How-
  groups who try to get arrested. Maybe they’ll block               ever, police can use the same social media platforms
  an intersection, but so what? Just direct traffic                 that the demonstrators are using to communicate in
  around them….15                                                   real time with the demonstrators. As Seattle Police
                                                                    Assistant Chief Steven Wilske said, “We announce
    On a more fundamental level, the report recom-                  our officers’ rules of engagement to the public to try
mended that police agencies remind their officers at                to make it predictable for the protesters.”16
every rank that their main goal should be to facilitate                  In Denver, protests historically involved coor-
the peaceful exercise of First Amendment rights.                    dinated marches that culminated with rallies and
                                                                    speeches at the Colorado State Capitol Building and
PERF’s 2018 report addresses                                        other major government facilities, according to the
                                                                    2020 report by Denver’s Office of the Independent
a new phenomenon:
                                                                    Monitor. By contrast, the George Floyd protests in
“Leaderless demonstrations”                                         Denver “developed quickly, without an obvious
PERF’s 2018 report, The Police Response to Mass                     schedule for the first five days. Groups often split
Demonstrations: Promising Practices and Lessons                     from each other and moved in different directions
Learned, drew on a national conference that PERF                    without easily discernable intended destinations.”17
hosted in conjunction with the U.S. Department                           The 2018 PERF report noted that police some-
of Justice’s Office of Community Oriented Policing                  times can identify “informal leaders” of demonstra-
Services.                                                           tions by carefully watching social media posts, and
      During the conference, one of the main points                 then communicate with those leaders via social
of discussion was that the origins of demonstrations                media. In some cases, it is also possible for officers
were changing dramatically. In the past, demonstra-                 on the ground to see who the informal leaders are
tions often were announced weeks in advance by a                    and to work with them.
major civil rights organization or other group. Police                   The report also highlighted the strategic impor-
would have time to work with the organizers to set                  tance of bicycle officers, due to their maneuverabil-
ground rules, make plans for closing certain streets                ity in crowded settings and general approachability.
or reserving parks so demonstrators could assemble                  Bicycle helmets also provide officers with some pro-
safely, and otherwise facilitate the logistics of the               tection without appearing militaristic, and bicycles
demonstration.                                                      can be used as mobile fences if needed.
      In contrast, many of today’s demonstrations are                    Finally, the report stressed the importance of
“leaderless.” They occur more spontaneously with                    looking after officers’ mental and physical well-being
little or no advance notice, as thousands of people                 when they have stressful encounters with hostile
use Twitter, Instagram, or other social media to let                demonstrators. As Dr. Edward Maguire said,
each other know they are going to a certain location                   Some of these protesters are really provocative….
to demonstrate. And once the demonstration begins,                     Police on skirmish lines take a lot of verbal abuse,
participants post photographs or videos of it online,                  and it can get tough. I’ve talked to a lot of officers



15. Police Executive Research Forum (2011). “Managing Major Events: Best Practices from the Field,” https://www.policeforum.org/
assets/docs/Critical_Issues_Series/managing%20major%20events%20-%20best%20practices%20from%20the%20field%202011.pdf.
16. Police Executive Research Forum (2018). “The Police Response to Mass Demonstrations: Promising Practices and Lessons Learned,”
http://www.policeforum.org/assets/PoliceResponseMassDemonstrations.pdf. Page 58.
17. Denver Office of the Independent Monitor. “The Police Response to the 2020 George Floyd Protests in Denver, an Independent
Review.” Page 6. https://www.denvergov.org/files/assets/public/independent-monitor/documents/2020gfpreport_oim.pdf



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   who struggled being out there for hours on end. It’s                     MCCA asked its members to characterize the
   important to talk about what kind of steps we can                    nature of the individual demonstrations they policed,
   take to talk about preserving emotional well-being                   and found that:
   and handling stress.
                                                                        • 51% of the demonstrations that took place were
        One recommendation is to train officers to just
                                                                          peaceful and lawful;
   withdraw from the line if they’re getting heated, and
   the second is to train officers to pull each other off of            • 42% involved unlawful activity, usually acts of civil
   the line. You need to build that into the deployment                   disobedience, such as occupying roads or intersec-
   plan, so you have the capacity for officers to check                   tions or spray-painting public property;
   out or encourage their peers to check out.18                         • 7% turned violent, including offenses such as
                                                                          assaults on police officers, looting, and arson.21
The demonstrations of 2020:
                                                                             When MCCA asked its members about the total-
Unprecedented in number, size,                                          ity of all demonstrations they experienced from May
and violence                                                            to July 2020:
PERF’s previous reports took on new relevance dur-                      • 62% of the jurisdictions experienced looting in
ing the summer of 2020. On May 25, 2020, Minne-                           at least one demonstration, and 56% experienced
apolis police officer Derek Chauvin knelt on George                       arson;
Floyd’s neck for nearly nine minutes, killing him and
sending shockwaves around the world.                                    • 72% of jurisdictions reported injured officers;
    Mr. Floyd’s killing triggered massive demonstra-                    • The agencies reported making more than 16,200
tions across the United States and in other countries,                    arrests during the 8,700 protests, and 17% of the
in what some have called the largest social move-                         individuals arrested faced felony charges.
ment in American history.19
    The Major Cities Chiefs Association (MCCA)                              Los Angeles and New York City each experi-
reported that between May 25 and July 31, 2020,                         enced more than 1,000 protests, with multiple events
there were approximately 8,700 mass demonstra-                          in different locations on the same days. The largest
tions in 68 major cities or counties that provided data                 single demonstration occurred in Houston, with an
to MCCA.20 Many of these demonstrations attracted                       estimated 60,000 protesters.22 Portland, OR experi-
enormous crowds through social media and were                           enced over 100 consecutive nights of protests.23 In
“leaderless,” making it difficult for police to make                    Seattle, police officers abandoned one of their build-
connections with community members and manage                           ings after a week of violent standoffs with protest-
the events proactively.                                                 ers; demonstrators quickly turned several streets
                                                                        around the precinct into the police-free “Capitol Hill




18. Police Executive Research Forum (2018). “The Police Response to Mass Demonstrations: Promising Practices and Lessons Learned,”
http://www.policeforum.org/assets/PoliceResponseMassDemonstrations.pdf. Page 13.
19. Buchanan, L., Bui, Q., Patel, J. K. (July 3, 2020). “Black Lives Matter May Be the Largest Movement in U.S. History,” New York Times,
https://www.nytimes.com/interactive/2020/07/03/us/george-floyd-protests-crowd-size.html.
20. Major Cities Chiefs Association, Intelligence Commanders Group (October 2020). “Report on the 2020 Protests and Civil Unrest,”
https://majorcitieschiefs.com/wp-content/uploads/2021/01/MCCA-Report-on-the-2020-Protest-and-Civil-Unrest.pdf
21. Major Cities Chiefs Association, First Amendment Assembly Working Group (April 2021). “Law Enforcement Response to First
Amendment Assemblies: Best Practices and Tactics,” https://majorcitieschiefs.com/wp-content/uploads/2021/04/MCCA-First-
Amendment-Assembly-Working-Group-Final-Report.pdf
22. Major Cities Chiefs Association, Intelligence Commanders Group (October 2020). “Report on the 2020 Protests & Civil Unrest,”
https://majorcitieschiefs.com/wp-content/uploads/2021/01/MCCA-Report-on-the-2020-Protest-and-Civil-Unrest.pdf.
23. Fuller, T. (September 5, 2020). “100 Days of Protest: A Chasm Grows Between Portland and the Rest of Oregon,” New York Times,
https://www.nytimes.com/2020/09/05/us/portland-political-chasm-protests-unrest.html.



                                                              A Brief History of the Police Response to Mass Demonstrations — 17
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Autonomous Zone.” 24 In New York City, by the end                     accustomed to being able to talk to protest organiz-
of July, the NYPD reported that 303 vehicles had                      ers in advance, generally agree on the terms and
been vandalized, including 14 destroyed by fire.25                    parameters of a protest event, and avoid violence.”
     In Denver, the Police Department reported 81                     But “there were significant differences here,” the IRP
officer injuries during George Floyd protests, and                    noted, saying:
“the vast majority were caused by individuals throw-                     “First, the [George Floyd] protests drew out a much
ing objects, such as rocks, fireworks, and other pro-                    larger crowd than any prior gathering. Many …
jectiles,” according to the Office of the Independent
                                                                         were not affiliated with any groups that [the police]
Monitor report. “We are aware of no other event in
                                                                         were accustomed to working with, nor did they
Denver’s recent history that resulted in this number
                                                                         necessarily respond to the efforts of those groups to
of injuries to DPD officers…. Every command officer
                                                                         exercise leadership or control. More importantly,
we spoke to during this review said that the protests
                                                                         the nature of this protest was different. The subject
were extremely difficult to manage.”26
                                                                         was specifically the conduct of the police themselves.
                                                                         Thus, the crowd was not inclined to be ‘managed’ or
New challenge for police:                                                ‘controlled’ by the police.” 27
Handling large numbers of anti-police
                                                                          Another new challenge was that agencies
demonstrations during a pandemic                                      often were unable to take advantage of mutual aid
The scale of the mass demonstrations during 2020,                     agreements, because neighboring jurisdictions’
the fact that police actions were the subject of the                  police forces were also busy policing their own
protests, and they were occurring during a once-                      demonstrations.
in-a-century global pandemic presented police                             In addition, the COVID-19 pandemic raised the
departments across the country with unprece-                          stakes of large demonstrations, making them a public
dented challenges.                                                    health risk for the protesters and the police. Arrests
    For example, Indianapolis’s Independent Review                    were especially problematic, and any attempts to
Panel found that “Indianapolis has a history of                       enforce local mask mandates or other COVID pre-
peaceful protests,” and the city’s police officers “are               cautions would have been fruitless.




24. Baker, M. (11 June, 2020). “Free Food, Free Speech and Free of Police: Inside Seattle’s ‘Autonomous Zone’,” New York Times,
https://www.nytimes.com/2020/06/11/us/seattle-autonomous-zone.html.
25. Associated Press (28 July 2020). “NYPD: 303 Police Cars Damaged Since Floyd Death, Costing $1M,” ABC News,
https://abcnews.go.com/US/wireStory/nypd-303-police-cars-damaged-floyd-death-costing-72026145.
26. Denver Office of the Independent Monitor. “The Police Response to the 2020 George Floyd Protests in Denver, an Independent
Review.” Page 7. https://www.denvergov.org/files/assets/public/independent-monitor/documents/2020gfpreport_oim.pdf
27. “Final Report of Independent Review Panel” (February 23, 2021). Page 16. https://www.wfyi.org/files/wfyi/files/impd-review-panel-
full-report.pdf



18 — A Brief History of the Police Response to Mass Demonstrations
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                                   RECOMMENDATION 1:
       Rethink the role of community
 representatives before and during protests.




                                                                                        Toronto Police Service
                                                                                        and protestors


The demonstrations of 2020 showed that                         Police should make special efforts to bring
many police departments’ existing protocols and           community members into their general process
policies were not adequate for responding to large-       of planning for all types of demonstrations. This
scale, often violent protests that continued in hun-      should include police meetings on policy issues
dreds of cities across the nation, in many cases for      related to demonstrations, table-top exercises and
weeks or months.                                          other training programs, meetings with mutual aid
     Police need a new approach for working with          partners, etc. Allowing community members to wit-
their communities on a continuing basis to facilitate     ness and participate in these meetings will demon-
demonstrations. This cannot be done in the midst          strate that police truly see their role as facilitating
of an ongoing crisis. This new approach is all about      protests, and will help to prevent community leaders
building trust in incremental ways.                       from believing the worst about police, such as think-
     In this way, even if police do not have the oppor-   ing that police wish to suppress protests, in particu-
tunity to work with organizers in the days immedi-        lar protests that are about police actions.
ately preceding a demonstration, they will have built          In this way, community members become the
a wide range of relationships in the community over       force-multipliers. Police will always be challenged to
a period of years. Ideally, many people taking part in    have enough officers to manage large demonstrations
the demonstration, especially those who are formal        that continue for weeks. Engaging the community is
or informal community leaders, will personally know       essential to bolstering the police response.
and trust several police officers or leaders. They will        Police still will face challenges in managing
not be inclined to “assume the worst” about police,       leaderless demonstrations that are promoted via
and they will know individual officers they can talk      social media and occur with little or no advance
to about issues that arise during the demonstration.      notice, or in dealing with leftist anarchist groups



                                                                                        Recommendation 1 — 19
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                 “It’s really important to have relationships with law enforcement ahead of
                 time. Those relationships must be built not when protest begins, but months
                 and years in advance.”
                 Tara Murray, civil and human rights attorney in Washington, D.C.

or right-wing anti-government groups like the                                 other issues such as climate change, where police
boogaloo movement that have no interest in work-                              might generally be seen as neutral observers of the
ing with the police. But it will help if police have                          demonstrations.
broad support from more mainstream community                                       As a result, in the demonstrations of 2020, many
leaders and activists.                                                        members of the public expected that police would
     Police also should strive to work with com-                              obstruct their First Amendment rights, rather than
munity leaders during demonstrations. Ideally,                                serving as an ally in maintaining peaceful, lawful
community leaders can take an important role as                               gatherings. Tensions, therefore, ran especially high.
“go-betweens” between police and demonstrators in                                  The after-action reports highlighted this lack of
the field, providing real-time communications back                            trust. In West Philadelphia, for example, protesters
and forth between protesters and police about what                            said they “felt that the police were more concerned
is happening on the ground.                                                   with protecting property [than protecting] members
     For example, community leaders might use their                           of the community.” 28 In Indianapolis, “there were
cell phones to tell police that small numbers of people                       several instances in which mutual misunderstand-
are arriving at certain locations with rocks or other                         ing, and to some extent distrust, fueled tensions
objects to throw at officers. With this information,                          between IMPD and the community.”
police might be able to neutralize the threat before                               Following are specific recommendations for
it can grow.                                                                  strengthening police-community ties in ways that
     Or conversely, if demonstrators have taken over                          build trust and understanding in advance of mass
a street that is an essential route for ambulances or                         demonstrations. Together, these recommendations
fire trucks, community leaders could help to spread                           will help communities feel included and understood
the word among demonstrators that police want to                              by police.
clear one side of the street in order to allow any emer-
gency vehicles to pass. If the demonstrators under-                           1A. Engage your community in
stand that the purpose is to maintain public safety,                          discussions about all aspects of the police
they likely will be more willing to comply than if they                       response to demonstrations, including key
assume that police are just flexing their authority for                       issues such as use of force, less-lethal force
no reason.                                                                    options, and how police make decisions in
     Other community leaders could serve as on-the-                           complex situations.
ground marshals in the demonstration, providing
information to the public and relaying the public’s                           PERF recommends that police agencies involve
concerns or questions to the police command center.                           their communities in discussions about the police
                                                                              response to demonstrations. These discussions
    Building trust: According to some of the after-                           should not be focused only on particular protest
action reports that PERF reviewed, a key challenge                            events, but rather should address broader issues,
that many police departments faced during the 2020                            such as the circumstances under which police might
protests was that they had not built trust with the                           use (or might be barred from using) different types
wide range of people demonstrating. This lack of trust                        of less-lethal force tools, how officers use a Critical
was compounded by the fact that the demonstrations                            Decision-Making Model to guide their thinking in
of 2020 were mostly about excessive use of force or                           managing complex situations during a demonstra-
other allegations of police misconduct, rather than                           tion, and broader issues.

28. See “After-action reports,” pp. 9-10, for links to full texts of after-action reports cited in this report.


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                 “Write rules of engagement that everybody is aware of and agrees upon,
                 because an inconsistent response from one protest to another creates distrust
                 and causes people to feel that the police are unpredictable.”
                 Dr. Tamara Herold, Associate Professor, University of Nevada,
                 Las Vegas

                          Los Angeles police and protesters


     Taking the time to create a shared understand-
ing of objectives, needs, and challenges will make it
easier for officers to gain cooperation and compli-
ance during events.
     Including community members in these discus-
sions will provide them with a better understand-
ing of what they can expect from police, and of the
rationale behind police decisions during demonstra-
tions. Involving community members also will high-
light the difficult choices police departments must
make in order to keep everyone safe during large and
unpredictable protests.                                       1B. Invite community members to observe
     Many of the after-action reports PERF reviewed           and participate in training courses and
support this recommendation. Philadelphia’s report            tabletop exercises on the police response
called for developing a community outreach plan to
                                                              to demonstrations, and to provide input
build relationships, share information about police
roles and responsibilities, and establish guidelines          on policies.
about acceptable and unacceptable behaviors. The              PERF recommends inviting community leaders to
result will be an “improved understanding of per-             observe and provide feedback on training courses
spectives and goals” on both sides, the report said.          and tabletop exercises pertaining to demonstrations,
     Raleigh’s after-action report went farther, calling      as well as providing input into agency policies.
on police to “include community representatives in                 A number of 2020 after-action reports supported
the development of training, policy, and the organi-          this idea:
zational implementation of both.”                             • San Jose’s after-action report recommended that
     New York City’s Department of Investigation                the city’s Police Department work with the com-
after-action report also highlighted the need to                munity on a “comprehensive review of the Depart-
engage communities proactively. Its recommenda-                 ment’s policies and procedures applicable to crowd
tions include creating a new Protest Response Unit,             control events and use of force.”
tasked with involving the Community Affairs Bureau
                                                              • Raleigh’s report mentioned developing an
in “discussions and decisions regarding the planning
                                                                approach to crowd management “in conjunction
and strategy for policing large protests.” The report
                                                                with city leadership and the community.”
also advises the NYPD to “enhance and expand its
public communication during protests,” so that                    Allowing police officials and trainers to hear
officers and community members can benefit from               from community leaders about how they perceive
real-time communication. The report also calls for            police actions during a demonstration can help to
all police-initiated communications to “balance con-          improve training and policies. This can help police
cerns about the First Amendment rights of protest-            to clear up misunderstandings and avoid actions
ers, officer and public safety, and police-community          that may unintentionally increase tensions with the
relations.”                                                   community.


                                                                                           Recommendation 1 — 21
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1C. Train community leaders to be                                      Some jurisdictions’ after-action reports call for
mediators and co-responders.                                       this type of mediation, where police departments
                                                                   proactively engage a group of individuals who can
PERF recommends that police agencies invite com-                   mobilize on the day to help facilitate positive police-
munity leaders to be mediators during demonstra-                   community interactions. For example, Raleigh’s
tions. Police also should assemble co-response teams               report states:
of police and community leaders.
                                                                     “Although it may not be possible in every crowd con-
    By working together during demonstrations to
                                                                     trol context, the identification and outreach to indi-
defuse incidents as they arise, these teams may avoid
                                                                     viduals who may serve as specific points of contact
the “us-against-them” mentality that sometimes
                                                                     or liaisons between protestors and police can lead
occurs when police respond to protests on their own.
                                                                     to better outcomes…. Crowd marshals or stewards




    Police Scotland Involved Elected Officials and
    Community Leaders in their Preparations
    for the COP26 International Climate Change Summit
    In November 2021, many thousands of                                   “A designated senior officer should
    demonstrators, including more than 100,000                       be constantly speaking to community
    reported at one demonstration, rallied at                        representatives, explaining police tactics
    the 26th United Nations Climate Change                           and the command protocols during an
    Conference of the Parties (COP26), a 12-day                      event. All good police plans, when there
    summit held in Glasgow, Scotland, to demand                      is the potential to use force, should
    greater action against climate change.29                         have community confidence as a key
        Because many large demonstrations                            consideration during their planning phase.
    were expected at this event, Police Scotland’s                   Many UK police services use ‘community
    Deputy Chief Constable Will Kerr told PERF                       impact assessments’ for that purpose.
    that in advance of the summit, he invited                        These assessments raise a series of
    elected officials to witness police training                     questions about the nature of the event and
    sessions for managing the protests:                              who is likely to be there.
           “Community engagement, both before                             “For example, this assessment of
       and during a major event, is key. I brought                   likely demographics should inform the
       in politicians from across Scotland to                        approved range of tactics that are available
       experience our public order training in                       to commanders. If you can reasonably
       advance of COP26. Some of them, including                     anticipate a lot of children/young people
       the Presiding Officer of the Scottish                         at a demonstration, you might not approve
       Parliament, even put on full PPE and                          ‘indiscriminate’ tactical options such as CS
       joined the shield line. Most described the                    gas, and only authorize the use of targeted
       experience as ‘revelatory.’                                   force tactics against individuals.”
           “Having community observers in
       command rooms is another way to increase
       public confidence.



29. See, for example, Sky News. “COP26: Tens of thousands march to demand action on biggest day of protests at climate summit.”
November 6, 2021. https://news.sky.com/story/cop26-tens-of-thousands-march-to-demand-climate-action-on-biggest-day-of-protests-
at-climate-summit-12462301



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            “I met with faith leaders, academic leaders, and community activists,
            including some who were critical of the police department or critical of me.
                “We brought them all in, as many as would volunteer to come in. We
            asked them to play a pivotal role in helping the police keep the crowds of
            demonstrators safe, and keep those protests from turning violent.”
            Michael Harrison, Baltimore Police Commissioner

  can serve as both an advocate for the crowd but            Beyond sharing information about previous
  also a key communicator to the police, encouraging     incidents, Charleston’s after-action report suggested
  de-escalation and information-sharing as the day’s     that the Charleston Police Department work with
  event proceeds.”                                       local media partners to broadcast messages about
                                                         how to stay safe:
     Some municipalities, like Baltimore, have
already implemented such initiatives, reaching out to      “A media team should focus on partnering with local
individuals who can work with police and communi-          media outlets to provide the public with instructions
ties to keep demonstrations safe and lawful.               on how to stay safe, as well as with regular updates
                                                           of the situation, and with ways they can help resolve
                                                           the situation.”
1D. Maintain daily incident reports,
and share them with the public.                               Social media platforms also have become essen-
                                                         tial elements of police communications strategies,
Another effective way to communicate with the            especially during demonstrations. No communi-
public during mass demonstrations is through daily       cations technology is faster than social media in
incident reports. These regular summaries can help       disseminating critical information to targeted audi-
demonstrate that police are committed to transpar-       ences. Police agencies should be familiar with all
ency. Daily reports can also provide vital informa-      major social media platforms, and should create
tion to members of the public about streets that         accounts and establish a presence on platforms used
may be cordoned off, any curfews in place, or other      in their communities.
restrictions to maintain public safety. Finally, they         During a particular demonstration, police
can help keep peaceful bystanders away from volatile     should use the platform or platforms that demonstra-
situations, which will help officers more effectively    tors are using to share their own messages about the
distinguish between people breaking laws and those       demonstration. This will help to ensure that police
who are unintentionally caught up in a crowd with        messages actually reach the people who can benefit
lawbreakers.                                             from them.
     Dallas’s after-action report focused on the
importance of the Public Information Office (PIO)
at keeping members of the public safe and informed       1E. Involve community representatives in
during fast-moving events:                               after-action reviews after demonstrations
  “A daily incident report of events that occurred the   have concluded.
  previous day should be created each morning. The       When police conduct after-action reviews following
  information would include crowd sizes, whether         difficult demonstrations, it is important to obtain
  and/or how many arrests were made, charges, use-       the perspectives of community members who were
  of-force techniques used to disperse crowds, and any   present.
  other significant issues that may be in the public’s
  interest.”




                                                                                       Recommendation 1 — 23
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                                   RECOMMENDATION 2:
       Ensure that internal communications
       can flow promptly and clearly, up and
       down the policing chain of command.


Demonstrations can be dynamic events –                     underlying rationales) with the field supervisors
peaceful one minute and violent the next, or peaceful      and/or [officers] ultimately expected to execute
on one block but violent around the corner. And they       them.”
can grow in size rapidly, especially via social media.   • Indianapolis’s report found that a “roster of offi-
In this regard, the demonstrations of 2020 were espe-      cers was prepared, indicating who would be on
cially challenging. In some cities, police responded       duty and who the supervisors would be; but no
to demonstrations every night for weeks or even            strategy was articulated nor specific objectives
months. And violent demonstrators often embedded           stated, other than to generally keep the peace; pro-
themselves in crowds of peaceful protesters, throw-        tect lives and property; and protect the Constitu-
ing rocks or other objects at police while remaining       tional rights of the protesters.”
hidden in the crowd.
     In these types of complex, changing situations,     • In Philadelphia, an independent report by CNA
effective communication within a police agency is          and the law firm Montgomery McCracken found
essential, starting with overall guidance from the         that Incident Commanders were not given the
top. Police leaders must set clear expectations for        authority to make important decisions in the early
how officers will approach mass demonstrations, and        days of demonstrations, including canceling offi-
how they will respond to various types of actions by       cers’ days off and extending tours of duty. As a
protesters.                                                result, in some cases “officers felt outnumbered,
     Some of the 2020 after-action reports indicate        which may have contributed to their unnecessary
that police were not always able to keep up with rap-      applications of force against protesters.”
idly changing conditions. For example:
                                                              PERF proposes several recommendations to
• According to the Chicago Police Department’s           ensure that all ranks and units in a department have
  after-action report, “the chaotic nature of the        a shared understanding of the goals and acceptable
  [demonstrations …] precluded department lead-          tactics for managing a demonstration. It is impor-
  ers from communicating specific plans (and their       tant that communications flow in both directions



             “Police chiefs will make statements about demonstrations and protests,
             about their expectations. But sometimes that doesn’t trickle down to the
             officers on the streets with the protesters. I think that communication needs
             to come from top to bottom.”
             Tara Murray, civil and human rights attorney in Washington, D.C.


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             “The language that we use is, ‘We want to facilitate, and we have a legal
             duty to facilitate, peaceful protest. That’s what we’re here to do.’
                 “We will protect the rights of the majority to protest, and we’ll deal with
             disorder when it happens. We’re unambiguous and clear about that.”
             Will Kerr, Deputy Chief Constable, Police Scotland


within the department. Officers should understand         2B. Provide officers with clear guidelines
their agencies’ goals, policies, and protocols as         for acceptable and unacceptable responses
defined by top leaders. And senior leaders must be
                                                          to protest behavior.
able to receive information coming from officers on
the ground, in order to inform strategic and tactical     Police departments should provide concrete guid-
decision-making.                                          ance about appropriate and inappropriate tactical
                                                          responses to different types of behavior by demon-
                                                          strators. This guidance should not be entirely tech-
2A. Begin by highlighting that police                     nical; rather, it should always keep a focus on the
should see their role as facilitating                     larger picture of maintaining a successful, peaceful
First Amendment rights,                                   demonstration.
while ensuring public safety.                                  For example, Fredericksburg’s after-action report
Police leaders and supervisors should start their         recommends that commanders “focus not just on
messaging by making clear to officers that their goal     operational tactics, but more importantly on how to
at demonstrations should be to facilitate safe and        achieve a successful resolution with sound strategy
lawful First Amendment expression. It can be easy         and resources.”
for officers to lose sight of this goal when faced with        Even if officers have attended training courses
large crowds, especially if some protesters are hostile   that cover such material, providing daily remind-
or the subject of the demonstration is police miscon-     ers during demonstrations will help to ensure that
duct. Communicating this message clearly and con-         all officers understand the relevant policies and how
sistently is essential.                                   they apply to the types of demonstrations that a city
     For example, Fredericksburg’s after-action report    is experiencing.
recommended that the city’s police department “add             A police department’s policy on demonstrations
language [to its demonstrations policy] to state that     should provide for a system of documentation to
the department’s approach to its handling of public       properly record and investigate use-of-force inci-
demonstrations has two equal components: uphold-          dents by officers, and/or injuries to persons sustained
ing the First Amendment rights of demonstrators,          because of police actions while at a demonstration.
while at the same time ensuring public safety.”           Injuries to demonstrators or to officers, as well as
     Officers also should communicate this message        statements made by demonstrators or officers at the
with members of the public, which can help build          time of the use-of-force incidents, should be cap-
trust. When police repeatedly reassure protesters         tured on officers’ body-worn cameras if possible and
that their goal is to keep them safe and free to dem-     made a part of the record and investigation.
onstrate, they may be more willing to accept instruc-          For more detailed recommendations about poli-
tions, and perhaps even to share information with         cies on less-lethal force, see Recommendation 4,
the police.                                               page 31.




                                                                                        Recommendation 2 — 25
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2C. Reinforce key messages during daily                  2D. Ensure that officers on the ground are
briefings and other recurring events.                    able to share information to inform high-
Police supervisors should reinforce messages about       level decision-making as protests unfold.
facilitating First Amendment rights and tactical         Agencies should ensure they have systems in place
instructions at daily briefings or roll calls.           to hear from officers on the ground about what is
     Many of the after-action reports make such          happening during mass demonstrations. This will
recommendations.                                         enable people in the command center to make well-
• Dallas’s after-action report noted that “the need      informed choices about how to keep both protesters
  for effective communication … elevates as an           and officers safe, ideally while also ensuring that the
  event goes on.” The nature of demonstrations           demonstration can continue.
  often changes over time. In the summer and fall            By communicating effectively both up and down
  of 2020, many cities experienced peaceful dem-         the policing chain of command, agencies can ensure
  onstrations during the day, but after nightfall, the   they set clear norms for officers and receive impor-
  protests would become violent. The Dallas after-       tant intelligence to aid decision-making.
  action report recommended that commanders
  and other leaders have frequent opportunities to
  clarify to subordinates any new objectives, tactics,
  or expectations.
• San Jose’s after-action report recommended that
  “briefings prior to deployment to large-scale events
  [should] include a review of rules of engagement,
  use of force, and other relevant policies.”



             “We had our own live-streaming team, so that we could be in the middle of
             the demonstration and see what was taking place.”
             Greg Fischer, Mayor of Louisville




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                                    RECOMMENDATION 3:
   Train officers and supervisors adequately.




                                                                                       Demonstrators and
                                                                                       police in Baltimore




Effective training and preparation can                          The Chicago Police Department’s after-action
help officers remain calm and de-escalate situations       report found that “Department leaders and key
even when tensions run high. Prior to the demon-           members lacked recent, up-to-date training or prac-
strations of 2020, however, officers in many agencies      tice” on the National Incident Management System
had not received adequate training in maintaining          (NIMS) and Incident Command System (ICS) frame-
public order, appropriate use of tactics and less-lethal   works. And because the Chicago Police Department
options, or other skills relevant to policing mass         has a large number of recently hired officers, leaders
demonstrations.                                            “could not rest on experience alone to guide those in
     With so many issues affecting the police, such        the field through civil unrest.”
as violent crime, the opioid crisis, and police use of          According to the Cleveland Police Monitoring
force, preparing for demonstrations became a much          Team’s report, some “members of the Patrol Section
lower priority. There had not been such widespread,        had not received their [Mobile Field Force] train-
numerous, violent demonstrations for 20 years or           ing since 2015 and had not practiced the use of their
more. So police in many cities were blindsided by the      [personal protection equipment],” which put officers
enormous numbers of violent protests in 2020.              and members of the public at risk.
     In many cities there was no anticipation that              In some cases, existing training may be based on
police would be facing hostile, violent crowds. So         principles of crowd psychology that treat large groups
training for that kind of situation had not been a pri-    as inherently dangerous. This approach may lead
ority. It seemed to make little sense to spend millions    officers to approach peaceful protesters suspiciously,
of dollars training officers on crowd-control tech-        and that may become a self-fulfilling prophecy. If
niques if it seemed unlikely that would be needed.         officers generally treat demonstrators as potentially




                                                                                         Recommendation 3 — 27
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                “Training is a key to a lot of these issues. These are very high-risk situations
                with very low frequency. So anytime you put commanders and personnel in
                these situations, it’s going to be challenging for them. The more that we can
                train, the better.”
                Jeffery Carroll, Assistant Chief, Metropolitan Police Department,
                Washington, D.C.


violent agitators, otherwise peaceful demonstrators                       including mass demonstrations. Ensuring that all
may feel abused and encouraged to commit acts of                          leaders have received ICS/NIMS training will help
civil disobedience or lawlessness.30                                      them deploy and manage officers in line with best
     Training is essential to executing a well-planned,                   practices.
professional response to mass demonstrations that                             Maintaining adherence to an Incident Com-
protects public safety as well as demonstrators’ First                    mand System plan can be complicated during large,
Amendment rights.                                                         dynamic events. The Los Angeles Independent
                                                                          Counsel’s report said:
3A. Provide commanders with the                                              “When confronted by multiple large-scale events,
necessary knowledge to coordinate                                            it is important that there be a clear chain of com-
                                                                             mand, where everyone knows who is in charge, and
a proportionate, effective police response
                                                                             those in charge provide clear direction. This did not
to mass demonstrations.                                                      consistently occur during the protests. There were
Commanders and other agency leaders should                                   times when command staff officers arrived on the
receive training on the knowledge and skills they                            scene of a protest and issued orders without coordi-
need to coordinate a proportionate, effective police                         nation with the Incident Commander…. This cre-
response to mass demonstrations. As Dallas’s after-                          ated confusion.”
action report outlined:
   “All command-level personnel should attend regu-                       3B. Train officers in crowd management
   lar Incident Command System (ICS) and National                         strategies that facilitate peaceful protest.
   Incident Management System (NIMS) training.
   Training presents a prime opportunity to expand                        In addition to training agency leaders, PERF recom-
   the knowledge base of commanders during criti-                         mends that police agencies train patrol officers and
   cal events that require a baseline familiarity with                    other personnel in crowd management tactics that
   [Emergency Operations Centers] procedures. A                           facilitate peaceful protest. New York City refers to
   robust training and development program will                           this approach as a “facilitation mindset,” because
   ensure commanders are prepared with the neces-                         officers see themselves as facilitating protests, not
   sary background knowledge particularly relevant                        “policing” demonstrations.
   for incidents requiring ICS/NIMS.”                                          However, in some cases facilitating demon-
                                                                          strations while protecting the public is more easily
    ICS and NIMS training provides leaders with a                         said than done, particularly when violent offenders,
standardized vocabulary, structure, and approach to                       intent on starting riots, are embedded within crowds
manage a wide range of critical events and incidents,                     of peaceful demonstrators.



30. Reicher, S., Stott, C., Drury, J., Adang, O., Cronin, P., Livingstone, A. (13 December 2006.) “Knowledge-Based Public Order
Policing: Principles and Practice,” Policing: A Journal of Policy and Practice, Volume 1, Issue 4, pp. 403–415, https://doi.org/10.1093/
police/pam067.




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    Successful crowd management tactics include:         authorization, that violate an ordinance but are not
                                                         violent in nature. For years, many police chiefs have
• distinguishing between peaceful protesters and
                                                         called for a general posture of tolerance in these situ-
  the typically small number of violent agitators;
                                                         ations, especially if police can simply reroute traffic
• being careful to engage with peaceful protesters in    around a street that demonstrators are temporarily
  a respectful manner, and not in any way that may       occupying. Often, the demonstrators will leave the
  come across as antagonizing them;                      street after an hour or two. By contrast, arresting
• understanding crowd psychology and how to keep         demonstrators in this situation can create hostility
  large groups calm; and                                 toward the police, and can tie up police resources for
                                                         days.
• bearing in mind the importance of proportionality           It is a mistake to approach every large gath-
  when responding to rapidly unfolding situations.       ering as if it is dangerous, but it is also naïve to
    Many after-action reports noted that navigat-        believe that peaceful assemblies never devolve into
ing such challenging and rapidly evolving situations     violence.
requires frequent training that covers a comprehen-           To clarify the police responses in these various
sive range of topics. For example, La Mesa’s after-      situations, it is helpful to begin by providing offi-
action report called for a demonstrations policy that    cers with a clear understanding of First Amend-
“emphasizes First Amendment rights to free speech        ment rights, so they know what types of actions are
and peaceful protest, outlines preparation and plan-     constitutionally protected.
ning efforts, describes use-of-force options, empha-          In line with this recommendation, Philadelphia’s
sizes de-escalation, provides guidance on the use of     after-action report called for “annual training for all
the Incident Command System, and [incorporates]          officers that includes legal updates on protected First
other guidance and procedures related to controlling     Amendment activities and how to determine when
crowds.” The report adds that training should take       protected activity becomes unlawful activity,” as well
place “no less than once annually” for mobile field      as the ability “to identify and distinguish peaceful,
force officers.                                          nonviolent groups from violent groups.”


3C. Train officers on how to handle                      3D. Emphasize de-escalation.
demonstrations where violent                             In addition to crowd control strategies, PERF rec-
offenders are intermixed with peaceful                   ommends that police agencies provide officers with
demonstrators.                                           training on de-escalation strategies.
                                                             De-escalation is one of the fundamental guide-
It is relatively easy for police to manage peaceful      lines in PERF’s 2016 report, Guiding Principles on
protests. And police have received training about        Use of Force:
responding to rioting, arson, looting, and aggra-
                                                           “Agencies should adopt General Orders and/or policy
vated assaults. What is difficult is training officers
                                                           statements making it clear that de-escalation is the
on how to handle situations where most demon-
                                                           preferred, tactically sound approach in many criti-
strators are behaving nonviolently, but a relatively
                                                           cal incidents. General Orders should require officers
small number of violent offenders intentionally
                                                           to receive training on key de-escalation principles.
mix among the peaceful protesters, often using
                                                           De-escalation policy should include discussion of
them as “cover” to throw rocks or other objects at
                                                           proportionality, using distance and cover, tactical
police, for example.
                                                           repositioning, ‘slowing down’ situations that do not
     In this context, it is important to understand
                                                           pose an immediate threat, calling for supervisory
that degrees of lawlessness matter. Demonstrators
                                                           and other resources, etc. Officers must be trained in
often commit acts, such as occupying streets without




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  these principles, and their supervisors should hold                    behavior. The strategies used by some small groups
  them accountable for adhering to them.31                               causing violence during the protests in Los Angeles
                                                                         have dramatically changed from past disrupters.
     In the context of demonstrations, de-escalation                     Disrupters now have become more mobile and bet-
training could include a discussion of how officers                      ter organized, likely due to the use of technology, and
should try to win the trust of demonstrators by tak-                     more violent. This shift has significantly impacted
ing a reasonable approach to solving minor problems                      the ability of officers to facilitate peaceful protesters
resulting from a demonstration, avoiding an unnec-                       exercising their First Amendment rights. The chal-
essarily heavy-handed enforcement approach.                              lenge for police today is how to facilitate the exer-
     For example, if a large demonstration takes over                    cising of a crowd’s First Amendment right while at
a public park or downtown area of a city, but demon-                     the same time interdicting smaller groups who are
strators are behaving peacefully and not threatening                     attempting to disrupt the lawful demonstrations.”
anyone’s safety, police can de-escalate by working to
address any traffic disruptions or other issues that
occur, rather than trying to force the demonstrators                  3E. Write clear, specific policies on the use
to move to a different location or threatening dem-                   of “less-lethal” tools, and provide training
onstrators with arrests or citations.                                 for officers, supervisors and commanders
     A Critical Decision Making Model, as described                   on how to implement the policies.
in PERF’s report, ICAT: Integrating Communications,
Assessment, and Tactics, can help officers assess their               Police use of less-lethal tools was a major source of
options in complex situations, ask themselves the                     contention during the protests of 2020 and a lead-
right questions, and make good decisions about the                    ing topic in almost every after-action report. Dem-
best actions to take (see page 36).                                   onstrators who were protesting police use of force
     Police also can practice de-escalation by explaining             became agitated, and sometimes violent, when police
their actions. For example, if demonstrators occupy                   used less-lethal tools in ways the protesters felt were
a street or intersection at a choke point that would                  excessive and indiscriminate. In some instances,
make it impossible for ambulances or firefighting                     news reporters and bystanders were struck by less-
equipment to respond to certain locations, police                     lethal munitions.
can try to de-escalate the situation by using a loud-                      From their perspective, police often felt that they
speaker to explain the public safety risk before asking               had few options for dealing with crowds that became
demonstrators to move to one side of the street or go                 unruly and violent. Less-lethal tools were seen as
to the next block, rather than ordering them to leave                 a reasonable, if imperfect response to dangerous
without explanation.                                                  situations.
     At the same time, today’s demonstrations are                          Recommendation 4 of this report discusses use-
more complicated, and not all situations can be de-                   of-force considerations in greater detail. As a foun-
escalated. The Los Angeles Independent Counsel’s                      dation, agencies need detailed policies on the use of
report noted:                                                         less-lethal tools and extensive training for personnel
                                                                      at all levels on how to carry out those policies.
  “Crowd psychology is a necessary component of
  training police to better handle dynamic crowd




31. Police Executive Research Forum. Guiding Principles on Use of Force. 2016. Page 40. https://www.policeforum.org/assets/
guidingprinciples1.pdf



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                                           RECOMMENDATION 4:
                     Re-engineering the guidelines
                     for use of less-lethal weapons.



No issue caused more controversy during                                     stomach, all caused by what law enforcement calls
the demonstrations of 2020 than the use of less-lethal                      ‘kinetic impact projectiles’ and bystanders call ‘rub-
weapons, such as CS gas, rubber or plastic bullets,                         ber bullets.’
and “soft” munitions such as bean-bag rounds.                                    “At least 20 people have suffered severe eye inju-
Inappropriate use of these tools can be self-defeating,                     ries, including seven people who lost an eye, accord-
agitating an otherwise peaceful crowd and triggering                        ing to the American Academy of Ophthalmology.
violence rather than preventing it.                                              “With terms like ‘foam,’ ‘sponge’ and ‘bean bag,’
     Furthermore, less-lethal force tools can inflict                       the projectiles may sound harmless. They’re not.” 32
permanent physical damage and even death. Such
                                                                             At the same time, as noted earlier in this report,
force often is imprecise, impacting people in a wide
                                                                         police officers faced high levels of violence by dem-
radius of the intended target. A USA Today analy-
                                                                         onstrators during the protests of 2020, according to
sis in 2020 outlined the risks of various less-lethal
                                                                         a survey of 68 police departments conducted by the
weapons:                                                                 Major Cities Chiefs Association (MCCA).
   “[S]ome officers appear to have violated their                           “There were a variety of weapons used by protest-
   department’s own rules when they fired ‘less lethal’                     ers during acts of civil disobedience or violence. The
   projectiles at protesters who were for the most part                     most common weapons were improvised or weap-
   peacefully assembled.                                                    ons of opportunity such as rocks, bricks, pieces of
        “Critics have assailed those tactics as civil rights                landscape, and bottles (including frozen water bot-
   and First Amendment violations, and four federal                         tles and glass bottles”…. Another common violent
   judges have ordered temporary restrictions on their                      tactic used by protesters involved throwing ‘molotov
   use.                                                                     cocktails’ at officers.
        “At least 60 protesters sustained serious head                           “Other items used as weapons or projectiles
   injuries, including a broken jaw, traumatic brain                        against officers included fire extinguishers, ham-
   injuries and blindness, based on news reports, inter-                    mers, wood, cinderblocks, rocks, frozen fruit, and
   views with victims and witnesses and a list compiled                     suspected bodily fluids…. Another common tactic
   by Scott Reynhout, a Los Angeles researcher.                             was to use peaceful protesters as human shields
        “Photos and videos posted on social media                           while violent individuals attacked officers and
   show protesters with large bruises or deep gashes                        attempted to incite violence by throwing objects
   on the throat, hands, arms, legs, chest, rib cage and                    from deep within the crowds.


32. Szabo, Liz et al. (June 19, 2020). “Fractured skulls, lost eyes: Police break their own rules when shooting protesters with ‘rubber
bullets.’ ” USA Today. https://www.usatoday.com/in-depth/news/nation/2020/06/19/police-break-rules-shooting-protesters-rubber-
bullets-less-lethal-projectiles/3211421001/



                                                                                                              Recommendation 4 — 31
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       “A slight majority of agencies (51%) were also                   As an initial starting point, the experts who
  confronted with firearms, most of which were legally              participated in PERF’s webinar (see pp. 10-11) and
  carried based on open carry laws. In these instances,             other PERF consultants reached broad consensus
  protesters often carried semi-automatic assault                   on the following 7 points regarding less-lethal
  rifles such as AR-15s, shotguns, and handguns….                   weapons.
  Five agencies reported police officers being shot or
  critically injured during protests.” 33                           Police Agency Policies on Less-Lethal Tools
    Police currently have too little solid informa-
                                                                    1. No weapons should be used against peaceful
tion about the capabilities of various less-lethal
                                                                       demonstrators.
tools, as well as their dangers and limitations.
                                                                           There was agreement on this guideline
The policing profession, with assistance from aca-
                                                                       among police leaders, academics, and human
demic experts and the U.S. Justice Department’s
                                                                       rights advocates. This includes use of CS gas,
research agency, the National Institute of Justice,
                                                                       pepper spray, so-called “soft” projectiles, and
should evaluate less-lethal tools and develop clear,
                                                                       other weapons.
specific policies regarding their use.
                                                                    2. Beanbag rounds, rubber bullets, and other
                                                                       “soft” projectiles should be considered only
4A. Establish clear guidelines for when
                                                                       for use against people who are committing acts
various types of less-lethal force are                                 of violence, and only when they can be aimed
warranted or are prohibited, with details                              at a specific individual who is committing a
about their capabilities and limitations.                              serious criminal act, such as setting a fire or
As noted above, no issue caused more controversy                       throwing dangerous objects. These weapons
during the demonstrations of 2020 than the use of                      should not be used when it is impossible to
less-lethal weapons. Despite their name, these devices                 aim them accurately enough to target a spe-
can inflict serious physical injuries and even death.                  cific individual.
But there is too little understanding of the capabili-                      “Shooting beanbag rounds or rubber bullets
ties, the limits, and the dangers of these devices.                    into an open crowd is irresponsible and dan-
     The policing profession needs more comprehen-                     gerous,” a leading police department’s expert
sive research on each type of less-lethal weapon, how                  on demonstrations told PERF. “The intent of
they compare with each other, the circumstances in                     deploying these types of projectiles is that they
which they may be useful, the types of situations in                   only strike one individual at a time to incapaci-
which they should be limited or prohibited, and how                    tate them. These methods are most effective
they should be used when they are deployed.                            when utilized to control an extremely dangerous
     Many of the after-action reports cited in this                    crowd, such as instances where a Molotov cock-
report recognize the importance of such guidance.                      tail or other dangerous objects are being thrown
For example, Denver’s report recommends that the                       at officers. … The advantage of deploying these
Police Department restrict the use of pepper balls to                  projectiles is that there is a safe standoff distance
“only circumstances in which a person is displaying                    between the officer and the targeted subject.
active aggression or aggravated active aggression.”                    However, firing rubber bullets from a distance
     As noted in the next recommendation, 4B,                          decreases both their force and their accuracy,
the U.S. Justice Department’s research branch, the                     increasing the risk of shooting people where not
National Institute of Justice (NIJ), is well situated to               intended, such as in the face, or striking random
help the policing profession on this issue.                            bystanders.”



33. Major Cities Chiefs Association, Intelligence Commanders Group. Report on the 2020 Protests and Civil Unrest.
https://majorcitieschiefs.com/wp-content/uploads/2021/01/MCCA-Report-on-the-2020-Protest-and-Civil-Unrest.pdf



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         “These weapons should not be banned, but                           to the crowd. Police should use loudspeak-
    officers need to be trained to aim them only at                         ers to ensure that the dispersal order has
    people whose behavior warrants this level of                            been heard. If police are considering using
    force,” said Dr. Edward Maguire, Professor of                           CS gas, they should inform the crowd of
    Criminology and Criminal Justice at Arizona                             that. (See Recommendation 5, page 38.) If
    State University, and Chair of PERF’s Research                          possible, police should station personnel at
    Advisory Board. “There have been many                                   the outer edges of the crowd to ensure that
    instances of officers using these weapons against                       the warnings are audible to everyone.
    journalists and people who are not committing
                                                                       •    Police have given the crowd ample time to
    a crime.”
                                                                            comply with the dispersal order and have
         Brian Castner, Senior Crisis Advisor
                                                                            provided specific instructions about how
    at Amnesty International, agreed with that
    approach. “The use of any kinetic impact pro-                           to comply. (See Recommendation 5.)
    jectiles can only be justified in situations where             4. Police should not use CS gas unless it is needed
    officers are able to apply the principle of discrimi-             to address a public safety concern. For exam-
    nation, meaning that they only target individuals                 ple, police should not use CS gas to disperse a
    committing or about to commit violent actions,                    large crowd simply because a few youths are
    while also not striking peaceful protesters,” Mr.                 spray-painting graffiti. It is relatively easy to
    Castner said. “To put it simply, if they have a                   power-wash paint off a wall, compared to the
    clear shot against a violent individual, that is                  years it may take to repair the harm done to
    justified, but otherwise no. The major hazard of                  police-community relationships if police appear
    kinetic impact projectiles is that they can cause                 to be using force to shut down a largely peaceful
    significant injuries, especially when a person is                 demonstration.
    struck in the head. Amnesty International has                          “CS should never be used on peaceful dem-
    documented many cases of broken jaws, cracked                     onstrators,” one assistant police chief in a major
    skulls, and lost eyesight.”                                       city said.
         “Any use of force that carries the risk of injury
                                                                           “The health effects of tear gas are largely
    must be highly focused,” said Dr. Tamara D. Her-
                                                                      unknown, and more medical research is needed
    old of the University of Nevada, Las Vegas. “To
                                                                      to know what is a safe dose for a person to
    the degree that any of these weapons and instru-
                                                                      breathe,” said Brian Castner.
    ments will affect people not directly involved in
                                                                           Police agencies also should remember that
    harmful conduct or behavior, they should not
                                                                      CS gas has limited effectiveness. “Many rioters
    be deployed. Police legitimacy is harmed when
                                                                      bring gas masks,” a police official said. “CS is also
    bystanders experience indiscriminate use of
    force. The public sees individuals in wheelchairs                 only a temporary tool. After deploying CS, you
    attempting to escape gas, or the death of bystand-                need to have sufficient resources to continue to
    ers who are hit by projectiles fired into a crowd.                disrupt the violent crowd. If not, they may return
    The Victoria Snelgrove case is an example.” 34                    after the CS clears the area. And you need to
                                                                      ensure that the police officers have appropriate
3. CS gas should be considered to disperse a                          PPE (i.e., air-purifying respirators/gas masks).”
   crowd only when the following conditions                                “With CS gas, wind is your enemy,” another
   have been met:                                                     leading police department expert said. “It’s a
    •    The crowd has become violent or is caus-                     chemical capable of causing physical injury and
         ing significant property damage.                             material damage, and it can be carried beyond
    •    Police have issued an order to disperse and                  your targeted audience and affect unintended
         have repeatedly communicated that order                      persons as well as the surrounding community.”



34. WBUR News. “Grief Remains 10 Years After Accidental Death Outside Fenway.” October 21, 2014. https://www.wbur.org/
news/2014/10/21/victoria-snelgrove-anniversary



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5. OC spray and other chemical irritants used                         6. “Flash bangs” and grenade-type devices should
   against individuals should be deployed only                           not be used in demonstrations.
   when police can accurately target individu-                                “Flash-bang” devices were developed for
   als without harming innocent bystanders.                              hostage-rescue incidents, not demonstrations.
   And chemical irritants should be used only to                         Their intent is to disorient people by temporarily
   address acts of violence or rioting.                                  blinding or deafening them, which is not con-
       These weapons should not be used against                          sistent with the goal of encouraging demonstra-
   peaceful demonstrators, even if demonstrators                         tors to disperse or otherwise comply with police
   are engaging in minor acts of civil disobedi-                         orders. A person who is stunned and disoriented
   ence that do not threaten public safety, such as                      is unable to follow directions and comply with
   occupying a park without a permit, or block-                          police directions.
                                                                              PERF’s experts said that flash-bang devices
   ing a street that is not an essential artery for
                                                                         are especially counter-productive when used
   ambulances, fire trucks, or other public safety
                                                                         in combination with mechanisms of causing
   vehicles.
                                                                         injury, such as “stinger ball” grenades that pro-
       “Pepper spray is one of the safest available
                                                                         pel rubber pellets and CS gas in all directions for
   tools when dealing with individuals attempting
                                                                         a radius of up to 50 feet while also using blind-
   to destroy property or assault individuals,” one                      ing light and deafening sound to disorient peo-
   leading police official told PERF. “But it should                     ple. These devices reportedly have caused many
   only be used on the specific individuals commit-                      serious injuries and even deaths when used in
   ting these types of criminal acts.”                                   demonstrations.35
       PERF’s experts generally said that pep-                                “To produce their blinding light, flash bangs
   per spray devices that are designed to be used                        use combustible materials that burn very quickly
   against individuals should be subject to the same                     and at a very high temperature, which can lead
   restrictions as CS gas used against large crowds                      to severe burns if deployed on or near a person,”
   of people. Chemical irritants can be effective                        a police department expert told PERF. “Once
   against violent agitators or rioters if police are                    a flash bang is deployed, it cannot be retrieved
   able to target the spray to specific persons, with-                   before detonation, which occurs after a 2-4 sec-
   out harming peaceful bystanders.                                      ond delay once initiated. Consequently, if han-
       Police should carefully balance the First                         dled improperly, these devices can result in the
   Amendment rights of peaceful demonstra-                               loss of fingers or hands to officers or civilians.”
   tors with the rights of everyone to be protected                           “Grenades that release projectiles in an
   against violence or harm. If police are perceived                     indiscriminate manner, sometimes packaged
   as overreacting to minor infractions of laws,                         with flash-bangs, cannot really be aimed,” said
   such as occupying streets that are not essential                      Dr. Edward Maguire. “They spread rubber pel-
   avenues for public safety, community members                          lets or balls, striking anyone in the area. They can
   may question whether the police are genuinely                         take out an eye or cause many other types of seri-
   interested in protecting Constitutional rights to                     ous injuries. Most instances of their use by police
   assembly and free speech. And when journalists                        in last year’s protests were irresponsible.”
                                                                              One police expert said that the only scenario
   are caught up in a police overreaction, the First
                                                                         in which a flash-bang device might be consid-
   Amendment guarantee of freedom of the press is
                                                                         ered during a demonstration would be “if police
   also implicated.
                                                                         intervention is required to enter an aggressive
                                                                         and violent crowd to extract officers, such as an
                                                                         officer-down situation, or to rescue innocent
                                                                         civilians or in other extreme life-threatening
                                                                         situations.”


35. Pro Publica. “Hotter Than Lava.” January 12, 2015. https://www.propublica.org/article/flashbangs




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             “CS is going to punish everybody in a crowd. Is everybody in that area
             actually being violent? Or if you deploy 37-millimeter projectiles, how far
             away are you firing? If you’re on the roof of the police station, how accurate
             are you with that weapon? And if you don’t hit the person who’s being
             violent, are you actually bringing law and order to the situation, or are you
             contributing to the skirmish?”
             Brian Castner, Senior Crisis Advisor, Amnesty International


7. A broader perspective on less-lethal force:                whether and how each type of tool should
   Proportional, Lawful, Accountable, and Nec-                be used in various circumstances.
   essary (PLAN)
                                                              As the research branch of the U.S. Department of
        Deputy Chief Constable Will Kerr of Police
                                                              Justice, the National Institute of Justice (NIJ) is
   Scotland offered the following perspective on
                                                              highly respected in the policing profession. Work-
   questions of police use of force during demon-
                                                              ing with academic experts, NIJ should conduct
   strations. Earlier in his career, he spent 27 years
   with the Police Service of Northern Ireland,               or commission research identifying the strengths
   where his command-level posts included Assis-              and weaknesses of each type of less-lethal tool, and
   tant Chief Constable in Belfast.                           should provide guidance to law enforcement agen-
                                                              cies regarding policies and protocols for regulating
   “On the issue of proportionality, how do you ensure        the use of these tools.
   that police use the minimum amount of force to
   achieve their lawful purpose? That strategic objec-
   tive should be built into all operational orders and       4C. State in policy who is authorized
   operational training, setting the broader mindset          to make the decision to use
   for all operations.                                        each type of less-lethal force.
        “From harsh experience in Belfast, I know that        Police departments should have clear rules defining
   this simple starting position can have a massive           who can make decisions to use each type of less-
   impact on officer behavior and tactics. The basic          lethal force, and the decision-makers should be at a
   template against which Northern Ireland officers           high enough rank to ensure accountability.
   used any force was the PLAN principles:                         For example, Philadelphia’s after-action report
   • Is the use of force Proportionate?                       recommends that “[a]s a matter of policy, the Police
   • Is there a Lawful authority for the use of force?        Commissioner or his/her designee will have the sole
                                                              authority to approve each instance of CS gas dis-
   • Is there Accountability?                                 persal.” The report also recommends establishing a
   • Is it Necessary? And if a use of force involves a        “specialized unit designated solely for crowd control
     potentially lethal tactical tool, then this test rises   and management, [which] should be the primary
     to whether it is absolutely necessary.”                  resource for when CS needs to be deployed.”
                                                                   In Dallas, the use of CS gas during crowd con-
4B. The National Institute of Justice, the                    trol situations was modified to require authorization
research arm of the U.S. Department of                        from the chief of police or his/her designee following
Justice, and academic experts should assist                   the summer of 2020 protests.
the policing profession by conducting a                            In Denver, the Office of the Independent Monitor
wide range of new research on less-lethal                     noted that “mass protest events are inherently cha-
tools. NIJ and academics should aim                           otic, and supervisors are often stretched too thin to
                                                              closely supervise the force being used by individual
to provide concrete information about
                                                              officers.” As a result, police agencies have developed
the capabilities and limitations of each
                                                              internal controls to regulate the use of force, such as
tool, as well as recommendations about
                                                              tracking the distribution of less-lethal munitions,


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requiring officers to use body-worn cameras to                       Using a Critical Thinking
record uses of force, and allowing only certified offi-              and Decision-Making Tool
cers to deploy munitions such as 40mm launchers.
     However, “there were significant gaps in the                    The Critical Decision-Making Model (CDM), a key
Denver Police Department’s use of each of these                      element of PERF’s Integrating Communications,
internal controls” during the George Floyd protest,                  Assessment, and Tactics (ICAT) training program,36
the OIG stated. On the second day of protests, DPD                   can be useful in helping officers manage large dem-
began purchasing additional munitions, and spent                     onstrations. Instead of providing officers with hun-
more than $200,000 in five days, mainly on pepper-                   dreds of rigid rules for each specific situation they
ball rounds, but the department “did not effectively                 might encounter, the CDM provides a structure that
track this inventory,” the OIG said.                                 officers can use to analyze any type of incident and
     PERF’s experts generally agreed that decisions                  develop appropriate responses.
about whether to use less-lethal weapons should                           In the context of demonstrations, officers using
be made at high levels within a police department.                   the CDM would ask themselves questions such as:
     “When Incident Command has been deployed,                       • What are the threats and risks to the public, if
the Incident Commander should make the overall                         any, in the current situation? Am I facing poten-
call to use soft projectiles, CS gas, OC spray, and                    tial threats or immediate ones? Minor threats or
other tools,” said Dr. Edward Maguire. “However, on                    serious, dangerous threats? Do I need more infor-
scene, lower levels must make the call, because the                    mation to assess the situation? Do I need to take
Incident Commander cannot reasonably see what is
                                                                       immediate action? Do I need additional resources?
going on everywhere. I would like to see on-scene
commanders, hopefully lieutenants or captains,                       • What legal authorities do police have in this
making the call. When these decisions are left up to                   situation?
officers or sergeants, it often doesn’t end well.”
     However, some police officials said that
while large canisters of pepper spray should                     Critical Decision-Making
be authorized only by the Incident Com-
mander, individual officers should be autho-                     Model
rized to use their small canisters of OC spray
under the same guidelines and restrictions                                                           Collect
that apply when they use it in their daily oper-                                                  information.
ations, as sanctioned by their department’s
overall use-of-force policy.
                                                                                                                                        Assess
                                                                   Act, review, and                                                   situation,
                                                                      re-assess.                                                     threats, and
4D. Emphasize through policies and                                                                                                       risks.
training that de-escalation, not less-                                                                Ethics
lethal tools, should be the primary                                                                   Values
tactic for managing demonstrations.                                                             Proportionality
                                                                                                   Sanctity of
Policies and training should emphasize that                                                        human life

de-escalation should be the overarching prin-
                                                                  Identify options
ciple for managing demonstrations. Less-                           and determine
                                                                                                                                    Consider police
                                                                                                                                      powers and
lethal force tools should be considered only                       best course of
                                                                      action.
                                                                                                                                     agency policy.
if other tactics have failed and demonstrators                                        Adapted from the UK National Decision Model


are actively threatening public safety with
violence.


36. PERF. ICAT: Integrating Communications, Assessment, and Tactics. 2016. See pp. 27-32. https://www.policeforum.org/assets/
icattrainingguide.pdf



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• What are the police department policies govern-
  ing this situation?
• What options do I have? What exactly am I trying
  to achieve? Can I slow the situation down to buy
  time and perhaps achieve a peaceful resolution?
  How can I communicate with the peaceful dem-
  onstrators and with those who are breaking laws
  or posing a threat?

     After taking an action, the CDM calls on officers
to ask themselves: Did the action have the desired
effect? If so, what should I do next?
     If the action does not have the desired effect, then
the officer begins the process again and goes back to
one of the previous steps of collecting information;
assessing the situation, threats, and risks; consider-          In addition, Denver’s report stated:
ing police powers and authority; identifying options
and choosing a course of action; taking action; and           “The OIM recommends that the Denver Police
assessing the results.                                        Department amend its Operations and Crowd
     Police should explain to their communities               Management Manuals to require that all sworn
how they use a CDM to make decisions in com-                  personnel working in the field during protest opera-
plex, difficult situations.                                   tions be required to wear BWCs, regardless of rank.
                                                              Further, the OIM recommends that … a supervisor
                                                              [be assigned] to conduct regular spot check com-
4E. Require the use of body-worn cameras                      parisons between rosters and the BWC database to
when deploying less-lethal force.                             identify any gaps in officer recording that must be
PERF recommends that when officers use less-lethal            addressed.”
force, they be required to activate their body-worn
cameras (BWC), if they are equipped with those              4F. Discuss the use of less-lethal tools with
devices. Video recordings can provide evidence of           your community.
the context that justified (or failed to justify) the use
of less-lethal force, as well as any required warn-         The issues outlined in this section are complex
ings officers provided before deploying it. Body-           and in many cases involve difficult judgment calls.
worn footage can also prove useful when debriefing          Police leaders should involve community leaders,
demonstrations, as officers and supervisors can             local elected officials and city government leaders,
review what happened and identify any areas for             and the general public in developing policies and
improvement.                                                practices governing specific weapons. Police should
     Many after-action reports recommend man-               share their expertise and experience about the types
dated use of body-worn cameras when deploying               of situations in which a tool may be effective, as well
less-lethal force. For example, Philadelphia’s report       as when it is not effective, and when it may pose a
stated, “All Philadelphia Police Department units and       greater risk of injury than is warranted by various
officers designated as responsible for deploying [CS]       types of particular circumstances. But police should
gas should be required by policy to be equipped with        have broad community support for their policies on
BWC and have it activated when any gas is used.”            use of force, and that support can be obtained only
                                                            when the community is involved in the decision-
                                                            making process.




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                                  RECOMMENDATION 5:
   Warn demonstrators before deploying
   any less-lethal force, and provide clear
instructions for the demonstrators’ response.


Providing advance notice to crowds                      • Cleveland’s independent monitor found that dur-
before using force or making arrests, and giving          ing one protest, “force was directed to be used
demonstrators clear instructions for how they should      within one minute of giving the final dispersal
respond, gives peaceful protesters an opportunity to      order,” giving peaceful protesters little time to
leave, and can help avoid any need for escalation of      vacate the area.
conflict. Advance notice helps to maintain peace and
                                                             “When CS gas is used without dispersal orders,
order without unnecessary tensions or use of force.
                                                        or when a crowd is trapped, it is a Constitutional
     Advance warning also can reduce the number
                                                        violation as well as a human rights violation,” said
of peaceful demonstrators getting caught between
                                                        Dr. Edward Maguire. “It is OK to tell a crowd after
police and violent agitators, and helps prevent the
                                                        several warnings, ‘We are now going to deploy CS
exposure of peaceful demonstrators to less-lethal
                                                        gas.’ The verbal warning will go a long way toward
force such as CS gas.
                                                        dispersing the crowd.”
     When making dispersal orders, it is important
to provide specific instructions about how demon-
strators should respond, such as “Leave by the south    5A. Establish clear scripts ahead of time.
exit to the park, on Market Street.” Otherwise, dem-
                                                        Law enforcement agencies should have policies
onstrators who wish to comply may get caught up in
                                                        requiring officers to provide advance notice to
a confused, delayed response, and it may be unclear
                                                        crowds before deploying CS gas or any other less-
to police whether most demonstrators are trying to
                                                        lethal tools. Otherwise, agencies risk inflaming
comply.
                                                        tensions and creating an impression that they are
     Throughout the summer of 2020 protests, there
                                                        “ambushing” demonstrators for exercising their First
were reports that many law enforcement agencies
                                                        Amendment rights.
were not providing advance notice to protesters
                                                             These announcements should explain the
before using force:
                                                        legal basis for dispersing a crowd – i.e., the unlaw-
• Denver’s Office of the Independent Monitor found      ful actions that are taking place, such as blocking
  that the Denver Police Department “did not con-       a street – and should explain the consequences of
  sistently issue dispersal orders before using force   ignoring an order to disperse. Otherwise, members
  to disperse crowds.” When DPD did broadcast           of the public may be subjected to force or arrest with-
  instructions, the orders sometimes lacked infor-      out knowing they had been doing anything wrong.
  mation about dispersal routes and did not warn             Live announcements are preferable to record-
  protesters that by remaining, they would be sub-      ings, because they “humanize” the directives and
  jected to force and arrest.                           sound less intimidating than audio recordings. Live




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announcements also give police the opportunity to               Providing explanations can help avoid giving
tailor their messages to specific situations. To ensure    demonstrators any impression that police are trying
that dispersal orders are clear, Philadelphia’s after-     to shut down a demonstration for no apparent rea-
action report suggested that police should write           son. The more reasonable a dispersal order sounds,
standard scripts that can be used – and, if needed,        the more likely it is that most demonstrators will
customized – in various situations.                        comply with it. Whenever possible, it is preferable to
                                                           simply redirect demonstrators to a nearby location.
                                                                In some cases, police may decide to disperse a
5B. Try to ensure that all warnings
                                                           crowd because a small group of violent agitators are
are audible to all demonstrators.                          causing injuries. Again, rather than simply ordering
To make sure that any advance notice or dispersal          the demonstrators to disperse, police should provide
orders are audible to all protesters, Raleigh’s 21CP       a brief explanation that will seem reasonable to most
after-action report recommended “investing in              people, stating that the dispersal order is being made
sound amplification devices … to ensure that critical      in the interest of protecting public safety, not sup-
communication addressing tactics is not misunder-          pressing First Amendment rights.
stood or unheard in loud, chaotic crowd contexts.”              Police must provide demonstrators with enough
     New York City’s Department of Investigation           time to comply with instructions. And the instruc-
report recommended that officers announce disper-          tions should be clear, understandable, and detailed
sal orders or advance notice of less-lethal force “at      enough to provide an orderly response. Some cities’
least three times from multiple locations at large pro-    after-action reports recounted situations in which
tests and events.”                                         it was unclear whether demonstrators were trying
     Police also should send officers out into crowds,     to comply with dispersal orders, because they were
or to the outer reaches of the crowd, to listen and        walking in all directions and being blocked by each
make sure that any announcements are clearly audi-         other.
ble to everyone.                                                Police should post dispersal orders and other
                                                           information on social media, especially on the social
                                                           media platforms that demonstrators are using dur-
5C. Give demonstrators clear,
                                                           ing the event. Where possible, police should tag the
reasonable instructions, and                               social media accounts of protest organizers and use
provide adequate time to react.                            the same hashtags as the demonstrators, to increase
Orders to disperse or otherwise comply with instruc-       the chances of their posts being seen. In recent
tions should be specific, reasonable, and well-            years, demonstrations increasingly are announced,
planned, to ensure that demonstrators who wish to          promoted, and publicized via social media, so it is
comply can do so promptly and without confusion.           essential that police use those same social media
     Police should include a brief explanation of why      platforms to reach demonstrators and provide criti-
an order to disperse or other instructions are being       cal information.
given. For example, if demonstrators are blocking               Police also should make time-stamped video
a road or a critical intersection, the first option for    recordings of themselves issuing instructions and
police should be to reroute traffic, rather than mak-      warnings, to serve as a record of their actions that
ing arrests, if possible. (See Recommendation 6.) If       can be shared publicly later.
rerouting traffic is not possible and police decide that
the blocked street must be opened, a dispersal order
should briefly mention why it is dangerous for the
street to be blocked – for example, because ambu-
lances and firefighting equipment would be unable
to respond to emergencies.




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5D. Play warnings in multiple languages.
In diverse communities, PERF recommends that
law enforcement agencies issue warnings or dis-
persal orders in multiple languages. For example,
San Jose’s after-action report recommended that
agencies record “dispersal orders in the three lan-
guages most likely to be encountered in San Jose:
English, Spanish and Vietnamese.”
    Agencies also should post any dispersal orders
on social media platforms in multiple languages.




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                                        RECOMMENDATION 6:
               Minimize the use of mass arrests.




Since 2006, PERF has been strongly caution­                             “The message that we communicate to officers is that
ing police agencies against making mass arrests at                      if they observe a violent criminal act—for example,
demonstrations.                                                         throwing a bottle and potentially causing a serious
    In the 2006 report, Police Management of Mass                       injury, or throwing a trash can through a store win-
Demonstrations, PERF said:                                              dow—they have a green light to make an arrest, and
                                                                        they don’t have to ask anybody’s permission.
  “[T]he mass detention of protestors not actively
                                                                             “In cases of civil disobedience—for example, a
  engaged in violence can create significant problems
                                                                        crowd goes into a roadway and obstructs vehicle
  for law enforcement agencies. Mass arrests during
                                                                        traffic, or a crowd blocks pedestrians who are trying
  demonstrations in Washington, D.C., New York
                                                                        to get into a store—officers are instructed that under
  City, and other major locales have been criticized. In
                                                                        no circumstances will they make an arrest without
  some cases, the protest activity, while unlawful, was
                                                                        the approval of the incident commander.
  not necessarily violent. Complaints included that
                                                                             “Civil disobedience is very different from a
  law-abiding protestors and passersby were rounded
                                                                        criminal act. If you make an arrest, you’re taking
  up and detained along with violators in overly
                                                                        away that person’s right to demonstrate.” 38
  broad sweeps. The negative impact of these media
  images damages the public perception of the police                     Assistant Chief Jeffery Carroll of the Washing-
  operation, as it draws into question the reasonable-               ton, DC Metropolitan Police Department outlined
  ness and proportionality of the police response.                   the extensive planning that must go into any large-
       “Subsequent litigation has proven to be par-                  scale arrests:
  ticularly costly. Litigation has included criticism of
                                                                        “You have to make sure you have a system for han-
  understaffed prisoner processing operations that,
                                                                        dling mass arrests before a large protest takes place.
  when overwhelmed, led to inordinate detention
                                                                        How are you going to process people if you do arrest
  without charge.” 37
                                                                        them? How are you going to transport them? Where
    In a 2018 PERF report, NYPD Lieutenant                              are you going to take them? Are you going to feed
Christophe Stissi said that the NYPD makes a criti-                     them? How long are you planning on having them?
cal distinction between criminal behavior and civil
disobedience:


37. Police Management of Mass Demonstrations: Identifying Issues and Successful Approaches. Police Executive Research Forum (2006).
P. 55. https://www.policeforum.org/assets/docs/Critical_Issues_Series/police%20management%20of%20mass%20demonstrations%20
-%20identifying%20issues%20and%20successful%20approaches%202006.pdf
38. The Police Response to Mass Demonstrations: Promising Practices and Lessons Learned. Police Executive Research Forum (2018).
Pp. 17-18. http://www.policeforum.org/assets/PoliceResponseMassDemonstrations.pdf



                                                                                                         Recommendation 6 — 41
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       “You cannot take 50 people into a district sta-                    As noted above, mass arrests also consume enor-
  tion and expect them to be processed in a timely                   mous amounts of police resources, and can distract
  manner unless you’ve preplanned.                                   officers from responsibilities that are more urgent
       “We have a high-volume arrest processing                      and more relevant to public safety.
  system that we use, and we have officers who are                        In a PERF report, then-Philadelphia Police
  specifically trained on how to use it. We have pre-                Commissioner Charles Ramsey explained the ratio-
  determined locations where we can process a large                  nale for avoiding arrests other than individual arrests
  number of arrestees.                                               for specific crimes:
       “If you’re going to give warnings and poten-                     “My advice is to avoid arrests if at all possible. You
  tially make arrests, you should be specific about the                 can’t lock people up for everything they do. First,
  laws people are violating. For example, if people are                 the more arrests you make, the more likely it is that
  blocking a major highway, you have to tell them                       you’ll wind up in court for a long time. Second,
  what law they are breaking.                                           you deplete your own resources by making a lot of
       “We give demonstrators three audible warnings                    arrests. You take your people off the line to go pro-
  before we make arrests. We have to ensure that the                    cess prisoners. You’re losing personnel that you may
  entire crowd can actually hear these warnings.                        need later on.
       “Another thing we learned is the importance                           “Protesters will often send out groups who try to
  of ensuring that you don’t encircle the crowd with-                   get arrested. Maybe they’ll block an intersection, but
  out allowing an avenue of escape. If you’re telling                   so what? Just direct traffic around them. If they’re
  a crowd to disperse, you cannot completely encircle                   blocking an Interstate highway, of course you have
  the entire crowd with officers, because then they                     to do something. But a city street where you can just
  have no way to go elsewhere.                                          redirect traffic is a different ballgame.” 40
       “You also have to be careful to ensure that you
  don’t accidentally involve people who aren’t actually
  part of the protest. You don’t want to draw onlookers              6B. Plan adequately for mass arrests
  into a demonstration and not give them an avenue                   in case they become unavoidable.
  to leave if they choose to do so.” 39                              Even though police should avoid any unnecessary or
                                                                     excessive use of their arrest powers during demon-
6A. Avoid the use of mass arrests                                    strations, they should also recognize that there may
whenever possible.                                                   be incidents where a large number of arrests may be
                                                                     required.
PERF recommends that whenever possible, law                               For example, rioting or violence during demon-
enforcement agencies avoid mass arrests. Mass                        strations cannot be ignored, and arrests may be the
arrests can give the impression that police are stifling             only mechanism for stopping criminal behavior. Or
First Amendment expression rather than facilitating                  in the case of civil disobedience that is creating a
it. This can erode community trust and goodwill.                     public safety risk, such as blocking major highways
     Video recordings of mass arrests on TV news                     that are essential for emergency response, arrests
programs and social media can galvanize public                       may be necessary if demonstrators refuse all requests
opinion against the police, calling into question their              for voluntary compliance.
motives.




39. The Police Response to Mass Demonstrations: Promising Practices and Lessons Learned. Police Executive Research Forum (2018).
Pp. 18-19. http://www.policeforum.org/assets/PoliceResponseMassDemonstrations.pdf
40. Police Executive Research Forum (2011). “Managing Major Events: Best Practices from the Field,” pp. 44-45.
https://www.policeforum.org/assets/docs/Critical_Issues_Series/managing%20major%20events%20-%20best%20practices%20
from%20the%20field%202011.pdf.



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    Thus, police should have policies, general orders,   • Plans for deciding whether arrestees will be taken
and protocols for managing each aspect of large-           into custody or issued a citation;
scale arrests, including:
                                                         • Plans for providing bathroom facilities and food
• In the case of civil disobedience, video record-         and water to arrestees if they will be held in cus-
  ings or other documentation of police orders and         tody for a significant amount of time.
  warnings being given repeatedly, to show that
  demonstrators heard the orders and had time to             Fredericksburg’s after-action report recom-
  comply;                                                mended that FPD “continue to review and conduct
                                                         tabletop exercises regarding mass arrest situations,
• Plans for transporting arrestees to locations where    specifically how to address the resources required to
  large numbers of arrestees can be processed            manage the arrest processes.”
  expeditiously;                                             Philadelphia’s report recommended that agen-
• Plans for having adequate staffing at processing       cies develop contingency plans, including “backup
  locations, with persons who know how to manage         processing stations,” to ensure that large numbers of
  arrests;                                               detainees can be processed in a timely manner.




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                                        RECOMMENDATION 7:
                               Prepare and activate
                              mutual aid agreements.



Mutual aid agreements can help law                                        The challenges of managing mutual aid during
enforcement agencies when mass demonstrations                        large demonstrations have been a difficult issue in
require a larger police response than one agency can                 policing for many years. A PERF report about the
muster. When multiple agencies work together, how-                   Baltimore Police Department’s handling of riots
ever, there must be clear written understandings that                following the arrest and death in police custody of
officers from the assisting agencies will take direction             Freddie Gray in 2015 found that uncertainty about
from, and abide by the policies of, the lead agency.                 mutual aid was one of several major problems.
     During the 2020 protests, mutual aid was a sig-                 “Many police agencies did provide assistance to the
nificant issue. Because demonstrations were occur-                   Baltimore Police Department, but because of certain
ring across the country in jurisdictions of all sizes,               requirements under the regional mutual aid com-
many law enforcement agencies were dealing with                      pact, BPD was unable to know exactly how much
mass demonstrations and civil unrest in their own                    assistance would be provided,” the report said. “There
jurisdictions and could not respond to assist other                  was confusion about the roles that each mutual aid
agencies.                                                            department would take, and about the use-of-force
     Even so, the protests revealed that many agencies               policies and the equipment that would be used dur-
did not have up-to-date or detailed mutual aid agree-                ing the police response to the demonstrations and
ments. In some jurisdictions that activated mutual                   the rioting.” 41
aid agreements, agencies experienced challenges rec-
onciling the norms and training of different police                  7A. Ensure that mutual aid agreements
forces.
                                                                     are specific and clear.
     Mutual aid agreements also brought logistical
challenges during the 2020 protests. For example, the                PERF recommends that agencies create mutual aid
Philadelphia after-action report found that multiple                 agreements with specific, clear instructions about
decision-makers and conflicting instructions from                    response protocols. Officers from various juris-
different agencies resulted in “confusion and delayed                dictions may be accustomed to different policies
decision-making for deployment of resources.”                        or tactics on using force, or their department may
Philadelphia’s mutual aid coordinator struggled to                   have a different “culture” about use of force during
“maintain information on the availability and real-                  protests. To avoid misunderstanding and confusion
time location of the outside law enforcement agen-                   during a demonstration or other event, and to ensure
cies’ personnel.”                                                    that community members receive a consistent level


41. PERF. (2015) “Lessons Learned from the 2015 Civil Unrest in Baltimore.” https://www.policeforum.org/assets/
2015baltimorecivilunrest.pdf



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             “Whether you’re a small, medium-size, or large department, when you have
             mutual aid agreements and you bring in resources from outside of your
             jurisdiction, you have to establish clear command and control.
                 “Otherwise, people are coming into your jurisdiction and performing
             based on their policies and training. I think there needs to be a mechanism
             of training with other counties and cities.”
             Michael Harrison, Baltimore Police Commissioner


of service, police agencies should review existing       issues with mutual aid partners to avoid any misun-
mutual aid agreements or draft new ones that go into     derstandings about use of force and other matters.
an appropriate level of detail.                               If an agency changes its use-of-force policies or
     For example, the report by the Denver Office        tactics, it should inform agencies with whom it has
of the Independent Monitor stated that Denver’s          mutual aid agreements.
mutual aid agreement “permitted each agency to
follow its own guidelines about when force could
                                                         7C. Conduct tabletop exercises or
be used rather than the DPD’s standards, and use
less-lethal tools that were not permitted under DPD
                                                         other training with mutual aid partners.
policy.” The Independent Monitor’s report recom-         PERF recommends that mutual aid partners con-
mended that “during future mutual aid deployments        duct joint tabletop exercises and training. Train-
in Denver, the DPD [should] require its Mutual Aid       ing together helps to clarify key issues and policy
Partners to adhere to the DPD’s Use of Force Policy,     differences. And it also gives police leaders and
and to utilize only types of weapons and munitions       officers opportunities to get to know one another.
approved for use by the DPD.”                                 Whenever two or more police agencies work
     Philadelphia’s after-action report recommended      together during a complex critical incident, it is help-
reviewing all mutual aid agreements “to determine        ful if they already know each other, have built a rela-
if they are adequate in specifying the commitment,       tionship of trust, and are familiar with individuals’
scope, and general procedures for all parties.”          strengths or any weaknesses.
                                                              Many after-action reports from the 2020 pro-
                                                         tests made this recommendation. For example, the
7B. Have ongoing discussions with mutual
                                                         Columbia, SC Police Department’s report recom-
aid agencies about response protocols.                   mended conducting joint tabletop exercises “at least
Updating or creating mutual aid agreements requires      once a year to ensure the department Command
having detailed discussions with participating agen-     Staff and subordinate supervisors understand and
cies about mutual aid response expectations. PERF        can execute functions, processes, and plans.”
recommends that agencies have these conversations             Dallas’s after-action report called for “increased
frequently, to ensure that agency leaders on all sides   information sharing, and local conferences to share
are familiar with the details of response protocols.     best policies and practices.” It also suggests working
Whenever possible, these discussions should take         with partner agencies “to develop opportunities for
place immediately prior to any planned or unplanned      increased interjurisdictional training, with the goal
events that may require a mutual aid response.           of creating a more cohesive and efficient response to
     Fredericksburg’s after-action report suggests       large-scale public safety incidents.”
having “high-level discussions with neighboring               Again, when there is some advance warning of a
law enforcement agencies to ensure there are clear       critical incident that may require mutual aid, agen-
understandings about how mutual aid responses will       cies should conduct joint tabletop exercises immedi-
be conducted.” The report also recommends that           ately prior to the event.
jurisdictions share their policy language on critical


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                                        RECOMMENDATION 8:
Prioritize officer safety, health, and wellness




Large-scale demonstrations can cause                                 194 responding police agencies, the rate of resigna-
intense physical and emotional strain on officers.                   tions increased 18% in the 12-month period ending
Policing demonstrations often means exposure to                      March 31, 2021, compared to the same period one
large crowds, tense encounters, and in some cases,                   year earlier. The survey also found a 45% increase in
threatening and dangerous situations. In 2020, many                  the retirement rate in that period.42
cities experienced demonstrations every night for
weeks. Burnout, post-traumatic stress disorder, and                  8A. Don’t neglect the basics,
other psychological issues may result from the chal-
                                                                     such as providing officers
lenges of policing mass demonstrations.
      Police departments have a duty to take care of                 with access to food and water.
their officers, especially during stressful events like              Even the most basic tasks, such as providing food
mass demonstrations.                                                 and water to officers working long shifts during
      A number of after-action reports cite these chal-              mass demonstrations, can be logistically difficult
lenges. Cleveland’s report noted that on a practi-                   when crowds are large, officers are moving to differ-
cal level, “there was limited ability to take breaks                 ent locations as conditions change, and officers don’t
for food, water, or rest” during the demonstrations.                 have time to take a break because they are needed on
Dallas’s report said that the “personal and cultural                 the front lines.
attacks [on police] were devastating to the morale of                     A number of after-action reports noted that
officers.” And the Los Angeles Independent Coun-                     attending to officers’ basic needs can be difficult, and
sel’s report noted that many police officers and com-                offered suggestions. Dallas’s report recommended
manders “were sleep-deprived during the protests”                    that the Police Department create a special secure
because of their long hours of duty, and officers also               area during demonstrations where officers can go to
were traumatized by people throwing bricks, con-                     get food and drinks. Cleveland’s after-action report
crete blocks, and explosive devices at them.                         even suggested “a contract for water, Gatorade/
      In the wake of the 2020 protests, there is evi-                Powerade and snacks” that will cover a minimum
dence that officers have been leaving the profes-                    amount purchased yearly, to ensure CPD officers
sion at higher rates. A May 2021 survey of police                    have enough food and drink for officers during such
agencies conducted by PERF found that among the                      large-scale events.




42. PERF Special Report. (11 June 2021). “Survey on Police Workforce Trends,” Police Executive Research Forum,
https://www.policeforum.org/workforcesurveyjune2021.



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8B. Issue adequate personal
protection equipment.
Another basic but important component of
officer well-being is ensuring that all officers
have adequate personal protection equipment
(PPE). This was especially importantly dur-
ing 2020, when officers needed gear to protect
them from physical assaults and from COVID-
19. PERF recommends auditing supply levels
and distribution protocols to ensure that all
officers are issued the necessary gear.
      After-action reports noted that providing
PPE is an essential element of responding to
demonstrations. Philadelphia’s report recom-
mended that all officers receive “a riot helmet,
a gas mask, and goggles or safety glasses” and
specifies that the PPE “should be easily accessi-
ble for officers to ensure that they are equipped
even on short notice.” Cleveland’s report speci-
fied that officers should have equipment that
fits them, and that they “receive updated train-          8D. Plan for adequate rest time
ing on PPE” to ensure proper use.                         and incorporate mental health
      In situations where police may be considering
                                                          considerations into risk assessments
use of CS gas, they need to make sure that all officers
have gas masks.                                           before mass demonstrations.
                                                          Mass demonstrations, especially in the age of social
8C. Keep riot gear out of sight.                          media, can occur unexpectedly. PERF recommends
                                                          that law enforcement agencies create plans for emer-
As noted in previous PERF reports, when there is no       gency schedules that can be activated when there
indication that a demonstration will become violent,      is a need to have more officers on duty. The emer-
but police want to be prepared for the possibility        gency schedules should include adequate rest time
of violence, police should keep riot gear and heavy       for officers.
equipment nearby but out of sight, in order to avoid           For example, Columbia’s after-action report sug-
giving the impression that they are expecting a riot,     gested that agencies “rotate officers during critical
or are planning an aggressive response to a peace-        incidents and emergency operations in order to pro-
ful demonstration. Agency leaders should bear this        vide necessary mental and physical rest.” These rota-
in mind and make sure that they keep officers safe,       tions will distribute the burden more evenly.
without intimidating crowds in a way that escalates            During the demonstrations of 2020, some cit-
tensions and ultimately makes situations less safe for    ies experienced peaceful demonstrations during the
officers and demonstrators.                               day, but after sundown, the peaceful demonstrators
                                                          went home and violent offenders would arrive, com-
                                                          mitting acts of vandalism and clashing with officers.
                                                          A rotating schedule could help ensure that the same
                                                          officers would not be assigned the most difficult
                                                          shifts repeatedly, exposing them to extremely high
                                                          levels of stress. When supervisors see an officer who




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seems agitated, they should take the officer out of        the most stressful of circumstances.” The second
service to relieve the strain.                             course focuses on “train[ing] officers to ‘not take it
     Many agencies conduct risk and threat assess-         personally’ when dealing with non-compliant, resis-
ments for events before they take place to ensure that     tive, and aggressive individuals.”
they are aware of and prepared for any issues that              Another idea, from the Columbia, SC after-
may arise. For example, risk assessments may point         action report, is to promote well-being through
to the need for protective barricades around a police      physical fitness programs, which have been shown to
station or the need to have additional PPE on hand         reduce stress.
for officers.
     When conducting these assessments before and
                                                           8F. Provide access to wellness support
during mass demonstrations, PERF recommends
that agencies incorporate considerations about the
                                                           programs after mass demonstrations
mental health of officers and other staff. If agency       have concluded.
leaders know that officers will be exposed to situa-       Many officers may experience emotional distress
tions likely to cause emotional distress, they should      after mass demonstrations have ended. PERF recom-
put mitigation measures in place the same way they         mends that agencies provide ongoing emotional sup-
would with threats to officers’ physical safety. Access    port services and peer support to ensure that officers
to quiet recuperation spaces or mental health sup-         have guidance, time, motivation, and assistance to
port, for example, may help officers avoid long-last-      work through any emotional issues.
ing psychological harm. For example, Columbia’s                 For example, Dallas’s after-action report pledged
after-action report suggested that agencies “ensure        that the department “will continue to work hard to
that the mental health of personnel is incorporated        provide all staff with access to psychological ser-
into planning.”                                            vices and peer support.” And considering the long-
     Agencies should ensure that their full range of       standing stigma associated with mental health care,
mental health resources – psychological services,          it urges department leaders to “continue to engage
employee assistance, peer support, chaplains, and          officers in frank and honest conversations, with the
others – are adequately staffed and resourced in           goal of creating a positive environment for ensuring
advance of any major demonstrations, especially if         emotional health.”
the protests are likely to run over several days or lon-        Similarly, La Mesa’s after-action report suggested
ger. These services need to be available during and        ensuring that “officers involved in emergency or crit-
after the event (see Recommendation 8E, below).            ical incidents are provided with an opportunity for
                                                           an after-action review and … wellness support when
8E. Teach officers techniques for                          needed.”
protecting their own emotional
well-being.
Police departments can create systems that promote
officer well-being, and officers themselves can also
take steps to maintain their own health and wellness.
PERF recommends that police departments provide
officers with the tools to keep themselves well.
     For example, Philadelphia’s after-action report
recommended two training courses for officers. The
first focuses on “protest interactions and professional
communications” and “promote[s] the importance
of officers managing their emotions … even under




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                                   RECOMMENDATION 9:
                 Ensure ongoing, robust review
                     of policing practices.



Police agencies should have systems for                  its rank-and-file members – about whether and
reviewing and improving their approaches to polic-       when members were required to complete Tactical
ing mass demonstrations. Demonstrations can be           Response Reports under mass arrest protocols,” the
dynamic, extremely challenging events to manage,         OIG report said.
and any missteps by police can erode community               When rules are not adhered to, it compromises
trust long after the demonstrations are over. Mecha-     accountability of officers as well as protesters engag-
nisms to debrief policing practices and receive com-     ing in civil disturbances, the OIG said. “Missing
munity feedback are therefore invaluable.                reports and videos may limit or preclude prosecu-
     In the wake of the summer of 2020 protests,         tion of some arrestees as well as accountability for
many larger agencies either wrote or commissioned        individual officers, and may compromise CPD and
after-action reports to identify policing strategies     the City’s position in investigations or litigation,” the
that were successful, as well as any practices that      OIG report said.
were harmful. Agencies of any size should take the
time to ask internal and external stakeholders how       9A. Debrief notable events
the police response can be improved.                     at the end of shifts.
     It is important that accountability mechanisms
                                                         Officers are experts on their own experiences, and
be respected during large demonstrations and civil
                                                         in many cases can provide insights to inform future
unrest. A number of after-action reports noted           strategic and tactical decisions. PERF recommends
that body-worn cameras (BWCs) were not always            that when possible, agencies make time at the end of
deployed as required, in some cases because the          shifts for debriefs. These debriefs will provide officers
cameras were not designed to be attached to offi-        with a chance to share knowledge, reflections, and
cers’ protective “turtle gear.” In Chicago, the Office   suggestions while their experiences are fresh in their
of Inspector General said that there was “widespread     minds.
non-compliance” with CPD’s policy requiring the               Raleigh’s after-action report recommended such
use of BWCs, because officers working outside of         debriefs, saying, “During periods of protest, crowd
their regular schedules deployed directly to the         management, and critical incident management
scenes of protests, rather than from their precinct      activity, there should be a debrief after the end of
stations where the BWCs were stored. And offi-           shifts” to “enable rapid knowledge transfer,” among
cers’ uses of force were not always self-reported,       other benefits.
in part because of “significant confusion among
CPD’s highest ranks – and as a natural result, among




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9B. Conduct timely internal reviews                                       Fredericksburg’s report called for a wide-angle
of body-worn camera footage, use-of-                                  analysis of use-of-force reviews, in order to under-
force reports, and other materials                                    stand “the entire incident, not just the moment force
                                                                      was used.”
to understand what went well and
what can be improved.
                                                                      9C. Invite community representatives
Officers’ body-worn camera footage and use-of-force
                                                                      to discuss their perspectives with
reports can provide important, detailed information
about what occurred during a demonstration, how                       police leaders after demonstrations
individual officers responded, and how the agency                     have concluded.
performed as a whole. PERF recommends that agen-                      After demonstrations end, PERF recommends that
cies establish protocols to ensure that these oppor-                  agencies invite community representatives to debrief
tunities are not wasted, and that agencies always                     with police leaders. Raleigh’s after-action report said
use this information to improve their policies and                    that it is important to hear from community mem-
practices.                                                            bers about their individual experiences and general
     For example, in addition to reviewing use-                       community concerns. The community members
of-force reports and body-worn camera footage,                        invited to these debriefs should include individuals
Philadelphia’s after-action report recommended                        who participated in the demonstrations and could
“survey[ing] officers to evaluate if their baton appli-               provide credible, fist-hand accounts of what hap-
cations are appropriate, effective, and result in the                 pened during an event.
desired outcomes and/or if additional training and/
or alternative applications of force would prove more
appropriate and effective.”




    Police Scotland Model for Community Engagement
    The preparations of Police Scotland for large-                   demonstrations that could be expected during
    scale demonstrations during COP26, the U.N.                      it. The committee included human rights
    Climate Change Conference, in 2021 provide                       lawyers, academics, disability rights advocates,
    a model for planning such events. (See                           and elected officials as well as police leaders.
    “Police Scotland Involved Elected Officials                      The panel helped to write the policies that
    and Community Leaders in their Preparations                      would govern the police response to COP26,
    for the COP26 International Climate Change                       and they helped to develop, and observe, the
    Summit,” p. 22.)                                                 police training for the event.
         A year before the COP26 summit began,                            And the committee’s work did not end
    Deputy Chief Constable Will Kerr of Police                       when the U.N. Summit concluded; the panel
    Scotland created an advisory committee                           continued to meet afterwards in order to
    to provide a wide range of expertise on                          address issues raised by demonstrators about
    how to manage the conference and any                             police actions during the conference.43




43. For details, see “‘Uncomfortable conversations’: Police Scotland’s lessons from the COP26 demonstrations.” (November 13, 2021.)
Police Executive Research Forum. https://www.policeforum.org/trending13nov21



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                          Conclusion:
                   The Demonstrations of 2020
                      Were a Wake-Up Call



The demonstrations of 2020 represented                      2. Police agencies’ traditional forms of working
one of the largest challenges to American police agen-         with community leaders to manage demonstra-
cies in years. Many departments were overwhelmed               tions are not enough to meet today’s demands.
by the size and number of protests, occurring day              In 2018, a major PERF report addressed the
after day for weeks or months. And while most of the           growing phenomenon of “leaderless demonstra-
demonstrations were peaceful, some involved acts               tions” – protests that occur spontaneously, with
of violence. Television coverage included scenes of            little or no advance notice. Unlike the demon-
protesters throwing rocks, bricks, Molotov cocktails,          strations of the past, which often were organized
and other objects at police officers, or committing            by established civil rights groups or other organi-
acts of arson, vandalism, or looting. And in some              zations, leaderless demonstrations are promoted
cases, there were scenes of officers using unnecessary         on social media and can occur spontaneously.
force, or officers suffering injuries.                               The demonstrations of 2020 showed what
     Since 2006, PERF has been developing guidance             can happen when police are not adequately con-
for police agencies about managing demonstrations,             nected to community leaders during protests.
but the demonstrations of 2020 were unprecedented,                   Police need a new approach for working
and many police agencies were blindsided by the sit-           with their communities on a continuing basis to
uations they faced.                                            facilitate demonstrations. This cannot be done in
     Following are some of PERF’s key findings about           the midst of an ongoing crisis.
what went wrong in 2020, and the new challenges                      This should include special efforts to bring
that police agencies must face:                                community members into police agencies’ pro-
                                                               cesses for managing demonstrations. For exam-
1. Police departments were simply not prepared
                                                               ple, police can invite community members to
   for the level of violence that they encountered.
                                                               observe and participate in officer training pro-
   Many of the after-action reports conducted by
                                                               grams and tabletop exercises regarding protests,
   cities found failures of intelligence about dem-
                                                               and to discuss policies governing the use of less-
   onstrations that were being planned, and the
                                                               lethal tools when demonstrations are violent.
   violence that was happening on a nightly basis.
                                                               Police also can invite community leaders to serve
        And officers lacked training in how to
                                                               as mediators during demonstrations.
   respond to demonstrations. This is understand-
                                                                     In this way, police can build a wide range of
   able, because the United States had not faced
                                                               relationships in the community over a period of
   such widespread demonstrations, occurring for
                                                               years. Ideally, many people taking part in dem-
   so many weeks and months, in many years. So
                                                               onstrations, especially those who are formal or
   police training programs understandably had
   focused on other priorities.



                                                     Conclusion: The Demonstrations of 2020 Were a Wake-Up Call — 51
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    informal community leaders, will personally                   •   No weapons should be used against peaceful
    know and trust police officers or leaders.                        demonstrators.
         As a result, community members can                       •   Beanbag rounds, rubber bullets, and other
    become force-multipliers. Police will always be                   “soft” projectiles should be considered only
    challenged to have enough officers to respond                     for use against people who are committing
    to large numbers of incidents that become vio-                    acts of violence, and only when they can be
    lent. But if police have support among the dem-                   aimed at a specific individual who is com-
    onstrators, and have established relationships of                 mitting a serious criminal act, such as set-
    trust with many of them, these relationships can                  ting a fire or throwing dangerous objects.
    bolster the police response.
         Police still will face challenges in dealing             •   Police should not use CS gas unless it is
    with people and groups that have no interest                      needed to address a public safety concern.
    in working with police, such as leftist anarchist                 For example, police should not use CS gas to
    groups or right-wing anti-government groups                       disperse a large crowd simply because a few
    like the boogaloo movement. But it will help                      youths are spray-painting graffiti.
    if police have broad support from more main-                  •   OC spray and other chemical irritants used
    stream community leaders and activists.                           against individuals should be deployed only
         Regaining public trust will require re-                      when police can accurately target individu-
    inventing this relationship as part of a con-                     als without harming innocent bystanders.
    tinuing, ongoing effort.                                          And chemical irritants should be used only
                                                                      to address acts of violence or rioting.
3. A key flash point in many cities was the use
   of less-lethal weapons. No issue caused more                   •   “Flash bangs” and grenade-type devices
   controversy during the demonstrations of 2020                      should not be used in demonstrations.
   than the use of less-lethal weapons, such as CS                     The National Institute of Justice, the U.S. Jus-
   gas, rubber or plastic bullets, and “soft” muni-               tice Department’s research agency, should make
   tions such as bean-bag rounds. Inappropriate                   a high priority of helping the policing profes-
   use of these tools can be self-defeating, agitating            sion develop these guidelines, by conducting or
   an otherwise peaceful crowd and triggering vio-                arranging for research on each type of less-lethal
   lence rather than preventing it.                               tool, its capabilities as well as its limitations and
        Law enforcement agencies must establish                   risks, and on new types of tools that may be
   clear guidelines for situations when less-lethal               developed in this area.
   force is warranted, as well as situations when
   less-lethal force is inappropriate.                        4. Officers should be trained to use a Criti-
        These issues are explored in many of the                 cal Decision-Making Model to manage their
   after-action reports that cities commissioned to              response to demonstrations. Since 2016, PERF
   evaluate their response to protests. For example,             has advocated the use of a Critical Decision-
   Denver’s report recommended that the Police                   Making Model (CDM) to help officers make the
   Department restrict the use of pepper balls                   best decisions when they respond to situations
   only to incidents in which a person is exhibiting             involving a person in crisis, such as a person
   “active aggression.”                                          with mental illness brandishing a knife on the
        As a starting point for a national review of             street.
   these issues, Recommendation 4 in this report                      The CDM is also useful in many other situa-
   offers guidance on the use of several types of                tions, including police officers’ response to dem-
   tools, which PERF produced with assistance                    onstrations. The CDM is a five-step process, in
   from the experts who participated in PERF’s                   which officers (1) collect information about the
   webinar and other consultants. These initial rec-             situation they are facing; (2) assess any threats or
   ommendations include the following:                           risk, and whether they need to take immediate




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action or can buy time to de-escalate the situa-            peaceful crowd as cover, the CDM can help offi-
tion; (3) consider what legal authority the police          cers take appropriate, proportionate actions that
have to respond in various ways; (4) identify               help protect public safety without alienating
options and determine the best course of action;            peaceful demonstrators.
and (5) take action, review what happened, and
if necessary, re-assess the situation.                       The demonstrations of 2020 were a wake-up call
     The CDM may sound complicated, but                 for American police agencies. In a number of ways,
when officers use it routinely, it becomes sec-         today’s protests and demonstrations – especially those
ond-nature. During a large demonstration that           that are about police actions – present much more dif-
may involve a complex mix of conditions, such           ficult challenges than they did a generation ago.
as a few violent offenders using a much larger,              This report presents a new playbook that police
                                                        can use to develop responses to these challenges.




                                                 Conclusion: The Demonstrations of 2020 Were a Wake-Up Call — 53
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                      About the Police Executive
                          Research Forum




The Police Executive Research Forum                      management studies of individual law enforcement
(PERF) is an independent research organization           agencies; educates hundreds of police officials each
that focuses on critical issues in policing. Since its   year in the Senior Management Institute for Police,
founding in 1976, PERF has identified best practices     a three-week executive development program; and
on fundamental issues such as reducing police use        provides executive search services to governments
of force; developing community policing and prob-        that wish to conduct national searches for their next
lem-oriented policing; using technologies to deliver     police chief.
police services to the community; and developing             All of PERF’s work benefits from PERF’s status
and assessing crime reduction strategies.                as a membership organization of police officials,
     PERF strives to advance professionalism in          who share information and open their agencies to
policing and to improve the delivery of police ser-      research and study. PERF members also include aca-
vices through the exercise of strong national lead-      demics, federal government leaders, and others with
ership; public debate of police and criminal justice     an interest in policing and criminal justice.
issues; and research and policy development.                 All PERF members must have a four-year college
     The nature of PERF’s work can be seen in            degree and must subscribe to a set of founding prin-
the reports PERF has published over the years.           ciples, emphasizing the importance of research and
Most of these reports are available without charge       public debate in policing, adherence to the Constitu-
online at http://www.policeforum.org/free-online-        tion and the highest standards of ethics and integrity,
documents. All of the titles in the Critical Issues in   and accountability to the communities that police
Policing series can be found on the back cover of        agencies serve.
this report and on the PERF website at https://www.          PERF is governed by a member-elected Presi-
policeforum.org/critical-issues-series.                  dent and Board of Directors and a Board-appointed
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As the charitable and philanthropic arm of Motorola    supports organizations that offer first responder
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